                    MILWAUKEE POLICE DEPARTMENT
                       INTERNAL INVESTIGATION

                      DET. SHANNON LEWANDOWSKI
                     SEX DISCRIMINATION

                                   March 1, 2016

                                Anna M. Pepelnjak
                               Weiss Berzowski LLP

   I.      Overview:

       On October 14, 2015, Milwaukee Police Department Detective Shannon
Lewandowski submitted a citizen complaint to the Fire and Police Commission. Ex.
1, October 13, 2015 Complaint. FPC Executive Director MaryNell Regan assigned
Anna M. Pepelnj ak of Weiss Berzowski LLP to investigate the complaint.

        The following persons were interviewed: Det. Shannon Lewandowski (three
meetings), Sgt. Shannon Taylor, Sgt. Justin Sebestyen, Lt. Jeffrey Norman, Capt.
Thomas Stigler, PO Clayton Amborn and Sgt. Roberta Klein. The investigator issued
an FPC PI-21 to Det. Melanie Beasley, but Det. Beasley declined to participate in the
interview because she 'is on an indefinite medical leave.

       Det. Lewandowski's complaint has been divided into three component parts
for purposes of this analysis: (I) Lawrence Poggenburg matter; (II) PO Melanie
Beasley matter and (III) PO Clayton Amborn matter. Each subsection contains
findings and conclusions, leading to the final conclusion.

   H.     Lawrence Poggenburg matter:

              A. Findings:

        Ou November 28, 2011,    D~tective    Shannon Lewandowski sent a memo by
registered mail to Chief Edward A. Flynn. Ex. 2, 09/01/2011 Memo, Det.
Lewandowski to Chief Flynn. In the memo, Det. Lewandowski complained about a
number of events of allegedly harassing conduct by her neighbor, Lawrence
Poggenburg, and about the Milwaukee Police Department's purported failure to
address the problem. At interview, Det. Lewandowski stated that she never heard
from Chief Flynn in response to this memo. Det. Lewandowski did not identify Chief
Flynn as a target of her complaint either in writing or at interview.

      Det. Lewandowski's 10/13/2015 complaint states that, on an unidentified date,
she reported allegations about her neighbor to Lt. Jeffrey Norman.            Det.
Lewandowski's complaint asserts that "nothing occurred" as a result of this
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conversation.  At his PI-21 interview, Lt. Norman acknowledged that Det.
Lewandowski raised some concerns about a neighbor, but stated that Det.
Lewandowski's complaints constituted a peripheral issue in an investigation into a
parking complaint involving a nearby school. Lt. Norman looked into Det.
Lewandowski's allegations and found nothing he could pursue.

        Det. Lewandowski's October 13, 2015 complaint further asserts that, at an
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from then-Acting Metro Division Capt. Thomas Stigler. At his PI-21 interview, Capt.
Stigler acknowledged learning that Det. Lewandowski had problems with a neighbor
from Dist. #3 supervisors. However, Capt. Stigler recalled only one direct
conversation with Det. Lewandowski during which Det. Lewandowski spoke about
difficulties with a neighbor. 1 Capt. Stigler testified that this conversation took place
in a hallway and Det. Lewandowski was "emotional". He listened and advised Det.
Lewandowski that her concerns amounted to a "civil matter", not a criminal case or a
department rule violation that would warrant police intervention. Capt. Stigler
counseled Det. Lewandowski to consider moving her residence. He promised to ask
the Internal Affairs Division if there were any other options for assistance, and he did
so, but they had nothing of assistance to offer.

        On November 15, 2011, Det. Lewandowski applied for a restraining order
against Poggenburg. Ex. 3, CCAP, Court Record Events; Milwaukee County Case
No. 2011CV17284. The court granted a two-year injunction on December 7, 2011.
Det. Lewandowski's 10/13/2015 complaint does not describe any problems with her
neighbor or any failure to respond by the Milwaukee Police Department during the
pendency of the injunction. More recently, on August 25, 2015, Lawrence E.
Poggenburg was charged with misdemeanor Disorderly Conduct. Ex. 4, CCAP,
Milwaukee County Case No. 2015 CM 2479. The record indicates that, on October 1,
2015, Poggenburg was ordered to have no contact with "Shannon L." and her
residence. On January 11, 2016, on the State's motion, the charge was amended to a
county ordinance violation. Poggenburg pled "no contest" and was levied a $25.00
forfeiture, including costs.

                               B. Conclusions:

       Nothing in Det. Lewandowski's October 13,2015 complaint suggests that any
member of the Milwaukee Police Department failed or declined to act due to Det.
Lewandowski's sex. Rather, the concerns she raised were not actionable police
matters. As proof, Det. Lewandowski's use of the civil justice system appears to have
adequately addressed and resolved the problem.

1       Det. Lewandowski's 10/13/2015 complaint states that adherence to the "chain of command" is
what prompted her to approach Capt. Stigler. At interview, Capt. Stigler testified that, from approximately
2006 to 2011, he was the Acting Captain of the then-existing Metro Investigations Division but Det.
Lewandowski did not report directly to him in that or any other capacity.

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    III.     PO Melanie Beasley Matter:

                 A. Findings:

       Det. Lewandowski's 10/13/2015 memo next claims that, on or about January
21, 2015 2 , she reached out to Capt. Stigler for help again. 3 According to the
complaint, the matter about which Det. Lewfu1dowski spoke with Capt. Stigler was a
complaint that Det. Lewandowski made on behalf of then-PO Melanie Beasley, a
female officer stationed at Dist. #5. Det. Lewandowski alleges she told Capt. Stigler
that PO Beasley "feared for her life" due to a "valid restraining order" against
"another member", a male police officer. Det. Lewandowski's memo claims that the
male officer often worked the same hours and assigmnents as the female officer. Det.
Lewandowski states that the female officer experienced "great mental trauma" and
called Det. Lewandowski to assist her "while on duty". Det. Lewandowski asserts
that she knew that PO Beasley emailed Capt. Stigler to say that she was afraid to
come to work because the male officer said he could "take her out at 1000 yards".
Det. Lewandowski asserts that Capt. Stigler never contacted the female officer.

        This investigator attempted to interview now-Det. Melanie Beasley by issuing
an FPC PI-21, pursuant to SOP 450.60(B). On Tuesday, February 16, 2016, Det.
Beasley made contact with this investigator and reported that she was unable to
participate in an interview for an indefinite period of time due to health problems. Ex.
5, 02/16/2016 Email, Beasley to Pepelnjak; Ex. 6, 02/16/2016 Report, Rogers
Memorial Hospital. Consequently, this report has been prepared without Det.
Beasley's input.      Specifically, this investigator makes no fmding as to Det.
Lewandowski's assertion that Det. Beasley "feared for her life" or experienced "great
mental trauma", since that information is uniquely within Det. Beasley's control.

        At Capt. Thomas Stigler's PI-21 interview, he stated that he became aware at
some point that PO Beasley and PO Robert Wilkinson were involved in a consensual
relationship. He later learned that the relationship broke off, after which animosity
develop~d between the two officers. PO Beasley spoke with Capt. Stigler about her
concerns regarding PO Wilkinson. Capt. Stigler ~dvised her that there was little he


2        On January 19, 2015, Det. Lewandowski was involved in a squad accident that totaled the squad
and caused personal injury to Det. Lewandowski and to her passenger, Det. Juanita Carr. Det.
Lewandowski's injuries required transport to the hospital by ambulance. After the accident, Det.
Lewandowski reported that she was injured in number of bodily areas, had trouble with her short-term
memory, and had difficulty "articulating herself'. Evidently, Det. Lewandowski was in a position to
pursue a complaint on behalf of PO Melanie Beasley just two days later.

3        Det. Lewandowski's memo asserts that she approached Capt. Stigler because he had recently
become the captain of Police Dist. #5. While at Dist. #5, Capt. Stigler had no supervisory authority over
Det. Lewandowski. Any inference that Det. Lewandowski contacted Capt. Stigler in adherence to the
chain of command is unfounded.

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could do to address their interpersonal difficulties. He recommended that they
attempt to work the matter out between them. At her PI-21 interview, Sgt. Roberta
Klein testified that she participated in serving PO Beasley with a mutual, internal no
contact order as to PO Wilkinson. The identity of the person who arranged for the
issuance of this order is unknown to this investigator.

        It should be noted that the assertion in Det. Lewandowski's 10/13/2014 memo
that PO Beasley had a "valid restraining order" against PO vVilkinson is false. On
January 15, 2015, PO Beasley filed for a judicial restraining order (using Det.
Lewandowski as her witness) but the court denied PO Beasley's request for
injunction. On March 23, 2015, the case was dismissed. Ex. 7, CCAP, Milwaukee
County Case No. 2015 CV 488. CCAP does not disclose any other attempts by PO
Beasley to obtain a judicial restraining order against PO Wilkinson.

              B. Conclusions:

        Det. Lewandowski does not aid her gender-based discrimination claim by
alleging mistreatment of Det. Beasley. Det. Beasley's situation stemmed from a
romantic relationship that went sour. These situations cannot be properly or
successfully addressed by the police or by the employer. In addition, the fact that
Det. Beasley was unable to obtain a judicial restraining order suggests that her
allegations do not rise to the level of harassment or abuse required by statute.

   IV.    PO Clayton Amborn matter:

          A. Findings:

        The bulk ofDet. Lewandowski's 10/13/2015 complaint involves allegations of
favorable treatment accorded PO Clayton Amborn. Det. Lewandowski alleges that
Fifth District Capt. Thomas Stigler failed to follow MPD rules, "used his rank and
status" to contact Internal Affairs regarding PO Amborn's status and instructed the
investigating officers, including IA...D investigator Sgt. Roberta Klein, to "disregard
the fact" that PO Amborn was on probation at the time of a serious rule violation
committed by PO Amborn. Det. Lewandowski states that Capt. Stigler gave PO
Amborn his personal cell phone number, which PO Amborn used to contact Capt.
Stigler regarding his probationary status.

        Det. Lewandowski also alleges that Sgt. Roberta Klein deviated from
procedure with regard to PO Amborn. Det. Lewandowski claims that Sgt. Klein
"prepared" PO Amborn for "every question" she would ask him during his PI-21
interview and "what to say in response". Det. Lewandowski asserts that Sgt. Klein
permitted PO Amborn to augment the statements made in his recorded interview by
adding them to her report. Presumably, Det. Lewandowski offers this evidence in
support of her sex discrimination claim, as a similarly situated male comparator who
received more favorable treatment than she (a female) received.
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        PO Clayton Amborn joined the Milwaukee Police Department as a
probationary employee on August 5, 2013. Ex. 8, 07/02/2013 Appointment Letter,
Flynn to FPC. At the time, new officers served a 16-month probationary period. PO
Amborn's probationary class became regular employees on January 24, 2015. During
probation, PO Amborn was off work for 55 days, from October 26,2014 to January 4,
2015, due to illness. His immediate supervisor was Sgt. Shannon Taylor, who
conducted and signed most of PO Amborn's probationary and regular evaluations.
Ex. 9, Probationary and :MPD Evaluations, PO Clayton Amborn. 4

        PO Amborn's February 8, 2015 evaluation (identified as a "probationary
evaluation") shows his off-probation date as March 18, 2015. The same is true for his
1v1arch 7, 2015 evaluation. Sgt. Taylor initiated both of these evaluations. At his PI-
21 interview, Sgt. Taylor acknowledged that he knew PO Amborn missed over 50
days of work during probation. Sgt. Taylor denied that it was his responsibility as
Amborn's first line supervisor to start or monitor the process of extending probation.
Sgt. Taylor testified that one of the lieutenants may have filled out a document
lengthening PO Amborn's probation, but Sgt. Taylor claimed he never saw the'
paperwork. Lt. Jeffrey Norman denied that it was his responsibility to extend PO
Amborn's probation. Capt. Thomas Stigler testified that he thought the payroll
department had the duty to start the process of extending probation. All witnesses
testified that extending an officer's probation is a rare occurrence. Evidently, in order
to formally extend an officer's probation, FPC approval is required.

       On March 8, 2015, PO Amborn was involved in an off-duty property damage
automobile accident while driving intoxicated. He was charged with first offense
Operating While Intoxicated and Blood Alcohol Content .08%+ [§346.63(1)(a) and
§346.63(1)(b) WI Stats]. PO Amborn was initially stripped of his badge and gun, but
eventually returned to work on limited duty status. On March 10, 2015, Sgt. Roberta
Klein opened an IAD investigation into the offenses.

        At his PI-21 interview, Capt. Thomas Stigler he was aware that PO Amborn
was on medical leave in late 2014. Capt. Stigler stated that it is standard practice for
department and union representatives to periodically check on officers who are out on
medical leave. Capt. Stigler explained that officers on leave can become suicide
risks, especially if the officer has a limited personal support system. Capt. Stigler
said that, while on leave, PO Amborn reported that he was "doing fine" and would
return to work eventually.



4         PO Amborn's probationary evaluations do not appear to have been performed on a regular basis.
PO Amborn's absence accounts for the lack of evaluations from October 26, 2014 to January 4, 2015, but
the gaps exceed that time period. It is beyond the scope of this investigation to determine whether this
practice is typical.


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        When PO Amborn was charged with OWI, Capt. Stigler became concerned.
He held a discussion with PO Amborn about the event, during which he stressed the
severity of the offense, asked for a plan for response from PO Amborn and sent him
to the department's EAP referral source. (PO Amborn described the conversation this
way: "He really laid into me; he snapped on me like he was my father"). Capt. Stigler
gave PO Amborn his personal cell phone number so the PO Amborn could keep Capt.
Stigler informed of his progress with EAP. Capt. Stigler said this is not unusual - he
recently gave another officer his personal cell phone number under similar
circumstances. As to PO Amborn's status as on/off probation, Capt. Stigler could not
recall how it came to his attention that probation had not been officially extended, but
the fact remained that the extension process was not completed.

        On April 9, 2015, Sgt. Klein issued a PI-21 "Informing the 1v1ember" form to
PO Amborn. At her PI-21 interview, Sgt. Klein testified that her practice for issuing
the PI-21 form is to prepare the form, contact the officer and ask him/her to report to
lAD to accept service of the form. When the officer appears, Sgt. Klein takes him/her
into an interview room with an lAD colleague (the subject officer is not represented),
explains the interview procedure, goes over the items listed on the form (including the
charges under investigation) and obtains the officer's signature on the PI-21 form.
Sgt. Klein does not record this conversation and she does not ask substantive
questions of the officer during this approximately 10-15 minute conference. Sgt.
Klein testified that this procedure is consistent with her training at lAD and currently
in use by other lAD investigators. Sgt. Klein confirmed that she followed this
procedure with PO Amborn.

        Sgt. Klein did state that the issue of PO P...mborn's probationary status came up
during their April 9, 2015 conversation. Sgt. Klein testified that she told PO Amborn
that lAD was trying to find out whether he was on probation at the time of his
<?ffense. At that time, Sgt. Klein was unaware of the formal procedure for extending
probation. She "m~y have" shown PO Amborn a performance evaluation marked
"probationary" (confirmed as true by PO Amborn). 5

       Between the issuance of the PI-21 and the actual interview, Sgt. Klein
investigated the question of PO Amborn's probationary status. She contacted Sgt.
Shannon Taylor and asked him for documents but he failed to provide them. Later,
Sgt. Klein received word from Lt. Heather Wurth and Sgt. Adam Zeiger at Dist. #5
that PO Amborn was not on probation because the FPC had not officially acted to
extend his probation. In response to Det. Lewandowski's allegation that Capt.
Thomas Stigler "reamed" her out, Sgt. Klein testified that she has never spoken with
Capt. Stigler about PO Amborn.


5        Sgt. Klein maintained that determining PO Amborn's status as on probation or off probation was a
legitimate inquiry because the subjects ofPI-21 interviews often ask about possible discipline options. Sgt.
Klein expressed her personal belief that termination was more likely to occur if PO Amborn were still on
probation, since he could not grieve the Chiefs decision.

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        Although it was originally scheduled for April 23, 2015, PO Amborn's
recorded PI-21 interview actually took place on May 4, 2015. PO Amborn appeared
with his MPA representative. Because the question of PO Amborn's probation status
had been answered to Sgt. Klein's satisfaction by then, it was not brought up during
the PI-21 interview. Sgt. Klein asked questions regarding the March 8, 2015 OWl
offense and the property damage accident. PO Amborn admitted fault and took full
responsibility for his actions. (In the October 13, 2015 complaint, Det. Lewandowski
accuses Sgt. Klein of preparing PO Amborn as to "every question and what to say in
response".     Sgt. Klein denied doing so, stating that PO Amborn "answered the
questions on his own"). After the recorded interview was over, PO Amborn stated
that he wanted to add something to his remarks. He told Sgt. Klein that he wanted her
report to indicate that he was sorry for his behavior. Sgt. Klein checked with three
other IAD officers to determine if adding information not on the recording was
proper. When they advised her that it was, Sgt. Klein added that information to her
report.

        On May 21, 2015, PO Amborn pled guilty to Operating While Intoxicated and
sentenced to a forfeiture of $861.00, AODA program attendance, revocation of his
driver's license for 180 days and required use of an ignition interlock device for 365
days. Ex. 10, Municipal Court Query System, Case. No 15011551.

       PO Amborn was served with paperwork relative to Core Value violation,
charge and investigative summary pursuant to SOP 870.20(C) on June 2, 2015. He
submitted a response to the charge to IAD on June 8, 2015 [SOP 870.20(D)]. On
June 23, 2015, Chief Flynn conducted a disciplinary review of the record and
imposed a 30-day unpaid suspension, under SOP 870.20(E). The Personnel Order
imposing the discipline was signed by the Chief on June 24, 2015 and served on PO
Amborn on June 25, 2015. At his PI-21 interview, PO Amborn testified that he
served his 30-day unpaid suspension and did not file a grievance.

           B. Conclusions:

        Det. Lewandowski offers the above evidence to support her sex discrimination
claim. Sex discrimination claimants can prove their claims using the direct evidence
or the burden-shifting (indirect) method. This record is devoid of direct evidence of
sex discrimination, such as sexist statements, documents or overt sexist behavior.
Accordingly, Det. Lewandowski must prove sex discrimination using the indirect or
burden-shifting method under which the claimant must first establish a prima facie
case. The prima facie requires a complainant to show that (1) she is a member of a
protected class, (2) she experienced an adverse employment action, (3) she performed
her job to the satisfaction of her employer, and (4) a similarly situated individual, not ·
in the protected class, was treated more favorably. Puetz Motor Sales v. LIRC, 126
Wis.2d, 168, 173, 376 N.W.2d, 372, 374-75 (Ct. App. 1985); Texas Dept. of
Community Affairs v. Burdine, 450 U.S. 248, 253-254 (1981).
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        The evidence Det. Lewandowski offers fails more than one of the required
elements, but the fourth prong is the most decisive. Det. Lewandowski is not
similarly situated to PO Amborn in any sense. As a legal matter, to be "similarly
situated" requires a showing that two employees are directly comparable in "all
material respects". Grayson v. O'Neill, 308 F.3d 808, 819 (ih Cir. 2002). Typically,
that means that they had the same supervisor, were subject to the same standards, and
engaged in similar conduct without such differentiating or mitigating circumstances
as would distinguish their conduct or the employer's treatment of them. Gates v.
Caterpillar, 513 F.3d 680, 690 (7th Cir. 2008), citing Snipes v. Illinois Dept. ofCorr.,
291 F.3d 460, 463 (7th Cir. 2002) and Radue v. Kimberly-Clark Corp., 219 F.3d 612,
617-18 (7th Cir. 2000). The "similarly situated" analysis asks this question: Are there
enough shared features between the individuals to permit a meru1ingfu.l comparison?
While the test is both flexible and contextual, there still must be enough
commonalities to allow a comparison that, taken together with the other prima facie
evidence, authorizes a jury to reach an inference of discrimination. Humphries v.
CBOCS West, Inc., 474 F.3d 387, 405 (7th Cir. 2007), affd, 553 U.S. 442, 128 S.Ct.
1951, 170 L.Ed.2d 864 (2008).

         Based on these legal principles, it cannot be found that Det. Lewandowski and
PO Amborn are similarly situated. First, PO Amborn was assigned to Dist. #5 and his
first line supervisor was Sgt. Shannon Taylor. Sgt. Taylor reported to one or more
lieutenants, including Lt. Jeffrey Norman. Lt. Norman reported to Capt. Thomas
Stigler. Therefore, PO Amborn was a direct line subordinate of Capt. Thomas Stigler.
Det. Lewandowski was assigned to the Investigations Division, which is has no direct
or dotted line relationship with Dist. #5. Ex. 11, IviPD Organizational Chart, 2015.
She has no reporting relationship with any sergeant, lieutenant or captain in any of the
seven police districts. She does not report to Capt. Stigler. Second, PO Amborn was
a patrol officer; Det. Lewandowski was a detective. Their job duties, compensation
and qualifications are considerably different. Ex. 12, Job description, Patrol Officer;
Ex. 13, Job Description, Detective. Third, PO Amborn was a rookie, not a seasoned
officer. His hire date is August 5, 2013, compared with Det. Lewandowski's hire date
of June 7, 1999. Det. Lewandowski had considerably more experience in the
Milwaukee Police Department, a distinction that should have enhanced her
understanding of the range (and the limits) of the department's authority. Fourth, Det.
Lewandowski approached Capt. Stigler with a problem that was not a police problem
at all, but resolvable as a civil matter; PO Amborn's OWI clearly represented a
personnel issue requiring department attention.

       Det. Lewandowski's use of evidence associated with PO Amborn as a male
comparator to support her sex discrimination claim lacks factual and legal merit. Det.
Lewandowski complaint is groundless and therefore, the complaint must be
dismissed.



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                     Dated this-~-
                                  .7JL
                                     day of March, 2016.




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                                    ADDENDUM

        A number of Det. Lewandowski's accusations are based on two recorded
interviews of PO Amborn conducted by then-PO Melanie Beasley on April24, 2015
and June 2, 20 15. According to Det. Lewandowski, PO Beasley recorded these
conversations using her cell phone, without disclosing the act of recording to PO
Amborn. On April24, 2015, PO Beasley questioned PO Amborn (in an undisclosed
setting in which background noise makes hearing the conversation difficult) and on
June 2, 2015, PO Beasley interrogated PO Amborn when they were assigned to a
patrol squad. On January 29, 2016, Det. Lewandowski provided the recordings to this
investigator. Ex. 14, CD, Recordings. She had previously provided a "transcript" of
the recordings. This "transcript", when compared to the audio, turns out to be
incomplete and inaccurate. Ex. 15, "Recording of PO Amborn and PO Beasley in
squad together".

        Moreover, some of Det. Lewandowski's 10/13/2015 accusations misrepresent
the recorded conversations. As an example, compare one of Det. Lewandowski's
allegations to the words of the recording:

      Lewandowski complaint: "Officer Clayton Amborn has been bragging
      to other officers that "Tommy Boy" (Thomas Stigler) is giving him
      special treatment and does not know why but believes that Captain
      Thomas Stigler had a prior OWI and understands his issues.

      Recording:



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         PO Amborn: I think Capt. may have had a similar experience happen to
         him.

         PO Beasley: Oh, I never heard of anything like that.

         PO Amborn: Maybe it was before he got on the job or he knows
         people on the job. Because. he really laid into me; he snapped on me
         like he was my father. And he's been very helpful ever since.

                                                           *****
         PO Amborn: Everyone keeps saying to me "Wow, you're best buddies
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         talked to the Capt. one f g time; he never called me."

         PO Beasley: That's his name?

         PO Amborn: Yeah ... But he reached out to me.
                                                       *****
        PO Amborn did not "brag" about rece1vmg special treatment from Capt.
Stigler, nor did he call Capt. Stigler "Tommy Boy". To the contrary, what PO
Amborn did is speculate on Capt. Stigler's motive (without expressing certainty or
source) and report statements made by others. Capt. Stigler offered a reasonable
explanation for his conduct, namely, concern for the wellbeing of a subordinate who
was in a tough situation. Det. Lewandowski draws a conclusion that is contrary to the
facts.

       These recordings raise issues as to Det. Lewandowski's credibility and
trustworthiness. 6 First, because PO Amborn was unaware that his discussions witl?-
PO Beasley were actually interrogations, his words were not well chosen, his thoughts
were poorly organized, a..nd his language was occasionally crude. After all, PO
Amborn thought he was talking to a friend, not an adversary who would seek to use
his statements against him. Second, PO Beasley asked leading and suggestive
questions, to which PO Amborn often responded with a casual "yeah". For all PO
Amborn knew, these talks were off-the-record, as conversations are, among friends or
coworkers. So, PO Amborn's perfunctory responses to PO Beasley's improper
questions fail to constitute knowledgeable acceptance of the questions' foundation.
Third, the incomplete and inaccurate "transcript" Det. Lewandowski provided to this


6        PO Beasley's use of her cell phone to record conversations may or may not amount to a violation
of policy. That question is beyond the scope of this investigation. Under SOP 750.20(A)(5), using the
department's digital audio-visual recording system to eavesdrop or to record the conversations of members
without the consent of all parties is prohibited. At the time of these recordings, there were no SOPs
prohibiting use of personal recording devices to record conversations with coworkers or superiors.

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investigator calls her fact-finding capabilities into question. Attention to detail,
adherence to facts and getting the whole story are hallmarks of good police work.
None of those attributes describes this transcript. Finally, as shown above, Det.
Lewandowski's 10/13/2015 complaint mischaracterizes PO Ambom's statements to
Det. Lewandowski's advantage. Det. Lewandowski's credibility suffers for the effort.




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            EXHIBIT#]

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               Date: 10/13/2015

              TO:     The Fire and Police Commission
I             FR:     Detective Shannon Lewandowski

              RE:     Discrimination, Misconduct in Office



              This report is written by Detective Shannon Lewandowski, assigned to Fusion, late shift.

               1bis is the second attempt via memo to report the intentional disparate treatment in direct action
               due to gender; I and others have been discriminated within this department because we are
               women. 'While the laws and Codes of this Department are excellent in theory, they are
               inadequate in addressing the cover- ups, directly related to females on this police department.
               There is collusion in the ranks of the male Milwaukee Police Department. The selective
               enforcement of the law is very corrupt, illegal, and grounds for suspension or immediate
             . dismissal of several officers of rank according to the Code of Conduct and Standard Operating
               Procedures.

              Specifically, on or about September 1, 2011, I addressed a situation that I was having with my
              neighbor, Lawrence Poggenburg to_my Captain. I plead for help. At the time, Lieutenant of
              Police, Thomas STIGLER was the Acting Captain of the Metro Division, and that is where I was
              assigned. In tears, I plead for help, explained the fear that I had living next to this person. I went
              to Lt. Stigler for help as my leader, since I had addressed my concerns and need for help to ·
              Lieutenant of Police Jeffery NORMAN first, and nothing occurred. I asked for help, however he
              refused to intervene, nor did he direct me to whom I could get advice, and demonstrated lack of
              courage, and failed leadership. I looked to Lieutenant of Police Thomas STIGLER for impartial
              and effective advice or service in dealing with a neighbor, following the chain of command, as
              we are directed. The same chain of command that I went to on December 6, 2015 and was
              reprimanded. I questioned Lt STIGLER days after, then a week after, and he told me he would
              get back to me. That never happened.

              On or about January 21, 2015, I once again reached to Captain Thomas STIGLER, not because I
              wanted to, but because he was promoted to Captain of District 5. I informed Captain of Police
              Thomas Stigler that a female at his District on the late shift had a valid restraining order with
              another member, and that she feared for her life. This member often worked on the same shift,
              the same hours, and same assignments as the female he assaulted. Additionally, I informed him
              that the officer was experiencing great mental trauma from her experience, as I was being called
              to assist her while on duty, and she would like to talk to him. I am also aware that the Officer in
              distraught, emailed Captain Thomas STIGLER regarding her fear while coming to work, that
              regarding the other member told the female officer multiple times that he could "Take her out at
              1000 yards, and she would not see it coming in the dark." Captain STIGLER never contacted
              her.


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I
     On or about March 2015, I had contact "With an officer of District 5 who explained that he was on
     probation and had been invr' -~din an OWI incident, when he was in-' ·icated and he struck two
     cars. Not only did Captain .~......_omas Stigler fail to follow the rules oftl1u·Milwaukee Police
(
     Department, but he used his rank and status to call Internal Affairs Division and order SergE:ant
     Roberta Klein and Sergeant Adam Zieger of IAD to disregard the fact that Officer Clayton
     Amborn was on probation during the time of his OWI.

     The first meeting with IAD and Officer Clayton Amborn was with Sergeant Roberta Klein, who
    was advismg Officer Clayton Amborn how to answer the questions. Officer Clayton Amborn
     answered the questions and said aloud that he was "thro-wn for a loop" when he observed that
    Sergeant Roberta Klein had documents that he was still on probation. Officer Clayton Amborn
    acknowledged that he was on probation and stated that "I thought that they were proceeding as if
    I was not on probation?" Sergeant Roberta Klein gave him a copy of proof that he was on
    probation during the time of the accident. Officer Clayton Amborn then called Captain Thomas
    Stigler on his personal cell phone because Captain Thomas Stigler told him to call if he needed
    any help with this investigation. Officer Clayton Amborn spoke with Captain Thomas Stigler
    and Captain Thomas Stigler became irate telling Officer Clayton Amborn that he would make
    some phone calls and told him not to worry. Soon after Captain Thomas Stigler told Officer
    Clayton Amborn. that he reamed out Sergeant Roberta Klein and Sergeant Adam Zieger to say
    that Officer Amborn -will be carried as ifhe is not on probation.

    Officer Clayton Amborn returned to IAD and Sergeant Roberta Klein prepared Officer Clayton
    Amborn for every question and what to say in-response, and proceeded as if he was not on
    probation, and the probation paperwork was never discussed. Officer Clayton Amborn then
    stated the week following Sergeant Roberta Klein called him to see how he was doing and if he
    was ok, once again receiving special treatment.

     During the interview the second time with Sergeant Roberta Klein, Officer Clayton Amborn
    stated that he forgot to mention a few things that the "Chief likes to hear when deciding the
    persons fate. Sergeant Roberta Klein stated that she would just put it in the report albeit she did
    not make those statements himself Officer Clayton Amborn has been bragging to other officers
    that "Tommy Boy'' (Thomas STIGLER) is giving him special treatment and does not know why,
    but believes that Captain Thomas Stigler had a prior OWI and understands his issues.
    Additionally, Officer Clayton Amborn bragged about being on probation January 24, 2015 along
    with his class, ~ut if this got out, he would claim it was a clerical error.

    Officer Amborn was out sick off of the payroll to answer the questions/preparing him in a
    portion of his field training, thus his probation was extended 55 days. At the time of his OWl,
    Officer Clayton Amborn had 8 days left on his probation.

    Captain Thomas Stigler not only gave Officer Clayton Amborn his personal cell phone number
    to call if he needed any help, he talked to him in the office, fixed or discarded the paperwork of
    his probation, directed Sergeant Roberta Klein at IAD to disregard the probation when he
    received a PI-21. Officer Clayton Amborn did respond to IAD for the violation, and when he
    was on the third floor of the Academy talking on recording explaining the accident to Sergeant
    Roberta Klein, he e},.,'_Plained that his Captain, Captain Thomas Stigler, :fixed this paperwork and
    he was "no longer on probation." Additionally Officer Amborn bragged about the fact that he
    was in an OWl, that he was drunk, and that he caused additional damage to two other vehicles.
    Officer Clayton Amborn then bragged and laughed about the fact that he has drank and drove
    drunk from a young age, and now had to "purchase Captain Stigler a bottle of booze or Scotch
    and write a damn letter to "Kiss the Chiefs' Ass."




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 Officer Clayton Amborn was off the payroll while on probation, lAD went to his house and
 removed is gun and badger ·"'1 him. \Vhen he returned to work afte oing off approximately 55
                                                                           1
                                                                               •


 days, he returned to District . without his gun/badge and then those i\:.;...~.ZJ.s were returned to him
 within one day. Officer Amborn knew that he was on e1..'iended probation, and during an official
 evaluation that Officer Amborn signed. This evaluation was explained and signed in the
 presence of Sergeant Shannon Taylor.

Furthermore, after Officer Clayton Amborn was in a OWI accident, Sergeant Justin Sebestyen
informed roll-call at District 5 on March 8, 2015, "We·are going to be down another officer
because one of your fellow officers got arrested while on probation; and he doesn't have a leg to
stand on, and he cannot appeal, and he is going to lose his job.» Sergeant Justin Sebestyen also
made it very clear that we are not to drink and drive and can call for a ride via the Department.

Likewise, I was involved in an on-duty accident, that of which I was not supported in any way,
the Department has failed to pay my medical bills and leave, causing me additional stress and
additional medical problems, delaying my healing process. I was also reprimanded for having a
cell phone at a public hearing and disciplined on June 3, 2015. Although, I have returned to
work, I still am without my police powers, and have not been given my gun/badge back with no
explanation. This is also part of the retaliation that I continue to receive, and is obviously
discriminatory as male officers like Clayton Amborn are treated with special and different
treatment. The treatment that the female officer at his District received while having a valid
restraining order is reprehensible, shameful much less his actions dishonerable.

I work in an oppressive environment with a different set of rules for men and wo.men. The
actions of Captain Thomas Stigler, breach the Code of Conduct, exercising his powers to defraud
the Department while in public office, as he used his status to intervene personally with Officer
Amborn. Moreover, Captain Stigler has discriminated against more than one female under his
supervision, with different standards for men and women. Officer Amborn lied to lAD, and
Captain Thomas Stigler covered up for him. Officer Amborri is serving the public when he
should be terminated, much less exercising police powers on the public. Captain Thomas Stigler
provided his 11personal 11 cell phone number stating to Officer Amborn, 11 Call or text me for
whatever you need 11 thus providing assist3?ce for a male officer who did something criminal, as
opposed to females who actually needed him to be a leader and provide a safe work environment
or at least equal treatment.

Furthermore, Officer Robert Wilkinson was never placed on desk duty/suspended/admin.
suspension, while the restaining order was valid much less during the investigation and Sergeant
Klein used her powers to dismiss and mislead the investigation, willfully and knowingly.

I would like this complaint investigated by an outside agency, as these actions have impacted not
only my work, but created great concern due to the continued abuse of power of this Police
Department, Internal Affairs Division, making the work environment, a untrustworthy and
hostile work place, everyday.



                                                                  Respectfully submitted,



                                                                  Detective Shannon Lewandowski
                                                                  012860


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            EXHIBIT#2.

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 Shannon Lewandowski




 Edward A. Flynn


Chief of Police




Dear ChiefFlynn,

My name is Shannon Lewandowski, and I am a Detective in       th~   Metro Division at your Police Department. I am
writing to you as a citizen, not as your employee. I feel the need to address you by letter because I have been very
upset with the direction and way that I have been treated by the members of the Milwaukee Police Department. The
same Department that I represent and am honored to be a part. I love my job, consider myself an asset to the city of
Milwaukee, and have never tarnished its reputation.

However, for years I have become appalled, mortified, and mostly embarrassed to say that I am a Detective on the
Milwaukee Police Department when I personally have called for help. This is not during the course of my duties, but·
rather as a citizen. I would personally have never handled the following situations as my fellow officers have.

At my appointment time, I lived in Wauwatosa VVI., I looked for an apartment in 1999, and located one that was 4
blocks to the north of my home which was in Milwaukee. After filling out the application, the landlord wanted me to
rent from him. I soon declined after obsessive calls, personal questions that were out of order, and when he
physically appeared at my home, I eventually changed my phone number and looked for a home to purchase. That
weekend in 1999, I walked to the front door of where I currently live and asked the family that had a Shorewest
Realtor sign in the yard, if I could look at the horne without an appointment. That day, I purchased the home.

Five years later, my neighbors at 5231 W. Washington Blvd. moved in, this is a property right next to mine, to the
north. This man was the landlord from 1999. His name is Lawrence Poggenburg. When he moved in, I did not
welcome him to the neighborhood, since I recognized him immediately. I was not sure if he had remembered since
he had gotten married and five years had passed. I was wrong.




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 Lawrence Poggenburg did remember, and he has made the only place of serenity and comfort I have in the world, a
 distrustful place of defensiveness. Five years ago, anytime I went into the back yard or to the front of my house to
 leave, he would approach me and do the same vvith the incessant barrage of unwanted questions, md repeated
 intrusions that eventually included deep anger, hostility, and compulsive obsessive acts.toward me. The behaviqrs
 have escalated over the years, after the first six months of quietly dealing with it, I soon, for lack of better words,
 "told him ofl''·to set boundaries. I informed him not to come on my property, and I followed the advice of EVERY
 Sergeant that came to my calls for help, or his obsessive calls about me. This is the short list of officers that have
 come to my·home:



PO Timothy Koestering.

 PO Paul Riehle

 PO Jeff Hoffman

PO Tom Lieske

 PO Ashley Gryzkewicz

 PO Edwin Reyes

 Sgt Louis Staton

 PO Steven Olmstead

 PO Steven Strasser

 PO Scott IVERSON

 PO Gary Post



 Det. Moises Gomez

PO Peter Panasiuk

PO Greg Heaney

Sgt Charles Brown

PO Charlotte Brown

Sgt Sobek

Captain Terrance Gordon

Alderman Michael J Murphy

... many more that I cannot recall, and a CAD system that must either erase or file other calls in such a way that I
cannot retrieve.




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     I have made every effort to alleviate this problem on my own and with the advice provided to me through my
     Supervisor. When CIB would finally go to arrest him, L: Poggenburg would lock himself in his home, pull the
     Clll'tains and refuse to answer the door. Captain T. Gordon handled an incident in 2008 or 2009 when L. Poggenblll'g
     exited his garage, pointed to me (I was not in ear shot of what was said but my neighbor was and made a statement)
     and stated to my then 14 year old son, "That is why you will always be poor and fatherless." My oldest son also heard
     this and called me as I drove to a basketball game in Waukesha. I pleaded with my eldest to not go outside and let the
     police handle the situation. Lt Gordon responded with officers. L. Poggenburg refused to exit his home, pulled the
     drapes and did not come out to the calls and !mocks of the police. No follow-up was ever done, no citations, no
     arrests, no advisement for him to stay away.

    The racial epithets from L. Poggenblll'g, include calling my sons and their Grandmother "Niggers, monkeys, 'go back
    to Africa,' 'go to your own neighborhood."'

    I on the other. hand am called "bitch, CW1t," and yells across my yard that "People like me do not belong on the police
    department."

    I have heard L. Poggenburg make remarks about the gay lifestyle of one of o\ll' neighbors who resides at 5211 W.
    Washington Bl.

    Assistant Chief Harpole who was at the time the District Three Captain, had arrived at my home, but only due to my
    constant request. That day I left my bedroom window open a short time, retlll'ned home and found that L.
    Poggenburg had aimed/ situated his rotor sprinkler grass watering device directly into my home, as it stayed at one
    constant stream into my window, satlll'ating my mattress. This mattress had to be    di~posed.   I was told that"although
    it app.ears intentional, it cannot be proved .." Only the siding of my home where my b.edroorn was located was .wet,
    none of his lawn. I tried to re-iterate "totality of circumstances" but no one was interested.

    Other traditionally non-police calls from L. Poggenburg resulted in Sergeants corning to my horne to ask if I had
    "thrown trash in the street" (CAD call 07 175 1952). Not only did I not throw trash in the street, this' is another form
    of his harassment !mowing that I had come home to sleep during the day, only to have more Supervisors !mocking at
    my door as I slept.

    CAD 11 103 1161, a call for "parking. too close to his car." L. Poggenburg lives on the corner.of 53nl/Washington
    Blvd. He has two corners to park on, a three car garage, three slabs to park. I do not have a garage, I do not have an
    alley, I do not have a parking slab. I have street parking only. I parked in the front of my home when returning from
    work, and he then parked his car up against mine and called the police. This is not a reason to call for police service,
    however Sgt. Larson responded from district three and woke me, and asked me to move my car, which I did. This
    was another attempt of many by L.Poggenburg for this intent only; harassment-.

    This summer L. Poggenburgs antics escalated with throwing garbage (bags) in between my home and his fence, spray
    painting a frame as it rested on a tree in the front of my home close to my parked car. This aerosol type canister
    propelled the paint mixture on the rear of my ca:. The neighbor Jeanett Soleski observed this and called my son who
    was in the yard. My son Kasey ran to the car and asked him to spray paint in the front of his own horne. We were
    able to remove the paint that landed on the bumper of my Honda civic. Police were called, and of course, it could
    not be proven as intentional.

    In 2007 I filed a harassment order after police responded to my ho~e. When I·arrived at the courthouse to file, I was
    informed that L. Poggenburg filed the same. Officers who were at Poggenburg's home the day prior had informed
    him that I would be filing a harassment order. That day, I was at the District Attorney's office prior to my




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 appointment with a case to present. I became ill and fainted at the District Attorney's office, and missed the hearing.
My illness, I believe, was the stress that I have to go through regarding this neighbor. I reopened the case and six
members from my neighborhood arrived at court to testify on my behalf. These members are the witnesses to the
behaviors ofL. Poggenburg. A supervisor from the Department who has witnessed hi.s antics also testi.fied. The
police had to be called again when L. Poggenburg stated that he was going to get my gun taken fro~ me, and get me
fired from the police department. The filing of such an order was dismissed after several residents on my block came
to court on my behalf and testi.fied.

 In 2008 my son Kasey graduated from High school. L Poggenburg placed his lawn hose the same way in which he
did in my bedroom window, destroying my .food: and getting my guest wet. When police were called, he locked
himself in the home and refused to come out. I was told that there was no way to prove that it was intentional. I
explained totality of the circumstances once more; however this has fallen to deaf ears, and told to get a restraining
order once more.

In 2008, L. Poggenburg built a play structure right next to my home, The photos are included. He sits in the
playhouse and observed by not only myself, but guests of my home, and he looks into my home. I have placed
curtains on the entire north side of my home to avoid looking at him in any capacity, as well as to keep him from
looking into my home. My neighbors John and Sandra Folaron of 5211 W Washington Bl Apt #4, asked me why I
approved the building of the play house so close to my house. I stated that I had not. John Folaron stated that he
called the City Inspector on him and also called about his fence. John Folaron stated that to his knowledge the fence
was on my property since it was so close to my home. After that conversation, I then was contacted by the city.            I
Inspector. I informed John Folaron that I did not want any more problems, and John explained that he has h~d
confrontations with L. Poggenburg regarding calling the police on him about loud parties.

L. Poggenburg called the city inspector on my property for a plastic shed that can hold 3-4 shovels and a lawn
mower. This shed came with the home which I had already been in for 12 years. L. Poggenburg informed the city
inspector that it was "new construction". The Alderman, Michael Murphy had to resolve the matter. I subsequently
took the shed down to avoid any other problems.

I placed video surveillance cameras on my home after the Burglary in 2008, and for protection/ evidence from L.
Poggenburg. I have kindly and angrily told L. Poggenburg to stay away from the front of my residence and my
children. Both of my boys were frightened of him when they were younger. L. Poggenburg would walk to my
home; confront my kids when I left for work or to the store. One time after having an ar~ent regarding him
talking to my children, I left for work. L. Poggenburg walked to my home and asked both of my sons if they wanted
to walk to get "ice cream" with him. Both of my children have been approached by him several other times. This
summer, L. Poggenburg charged at me when I ignored him, and he then called me a "fucking bitch." My son
observed and heard what was said and felt the need to defend me, knocking L. Poggenburg back off of our property
in the front of our home onto the ground. This is the only time he did NOT call the police.

L. Poggenburg was caught peering in my bedroom window this summer in August 2011, and provided the
explanation that he cut between my home and his fence to. enter my yard to retrieve a "Wiffle ball" a Scent plastic ball
(which was actually mine). As he GUt through the yard, he put his hands on my window (the writers prints were
visible), and looked in my bedroom. I was on my computer and it was 7am on a Sunday, as I was preparing to attend
church. My car was not parked in t:i:le front of my home and was getting repaired.;. This was his indication that I was
not home. Sgt Charlie Brown responded, gave his opinion about L Poggenburgs obsession with me and provided the
advice to put up another camera, and no-trespassing signs. I did.




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 On November 1, 2011, a realtor carne to my home to provide an estimate on selling my home. She informed my
 sister that the signs on the outside of my home home (no trespassing etc) should be removed because I appears that
 the area is problematic. L. Poggenburg called the police because he placed a sign in my yard, and claimed that it was
 his. When PO Edwin Reyes and Sgt Sobek of District Three arrived to talk to me about the sign, I did not !mow
 about the sign removal. Later that day, L. Poggenburg threw a sign over my fence that read "u cunt." I asked Sgt
 Sobek to go to his home as I observed him throw it over the.fence. To my knowledge, nothing was done:

 On November 12, 2011 my children's Grandmother stayed the night at my home. Her name is Denise Rogers. She
 stayed the night for the safety of 111Y son, taking him to school on Friday the 11th and taldng care of the dog. At
 4:24am on November 12, 2011, ~· Poggenburg used a long pruning scissors to cut the surveillance wires on the
 north east side of my home. As th!" wires were ~t, interference was sounded on the alarm system, waking Denise.
 Denise, well aware of the problems, which she has witnessed herself, looked out the window where she slept and
 observed L. Poggenburg attempting to cut another wire. After she opened the window, L. Poggenburg ran from the
 side of the fence in his own yard and into the side .door of his home. Denise called me; I was in Fond duLac WI. I
 was in Fond duLac completing work on my Masters. I provided the phone numbers to Metro. Denise could get no
 answer, so she called District 3. Denise was at my residence until9am. No squad to our knowledge ever came.

· I filed a harassment order on November 15, 2011. After filing it, I called Sgt Sobek of District three who provided
 me his cell number and stated that when I saw him, to call, that he would personally go to his home to serve it.

 This summer to the best of my knowledge, L. Poggenburg was fired from the City of Milwaukee where he worked as
 an electrician. Since his dismissal with the city, he was hired (according to'facebook) at Potomac Electric Power
 Company which is either located according to Google in either Maryland, Washington D. C. or Boston. Happy as I
 an1, L. Poggenburg is gone a week or two at a time. However, this has not deterred him either because since then, as
he has in the past, blew all of his leaves in the front of my home, cut my surveillance wires, and threw notes over my
fence. Due to the fact that he is out of town during the week, it has become difficult to serve him the harassment
court order, him especially without him finding out that we were trying to serve him. If he had that knowledge, he
would make it even more difficult to be served if not impossible. Given my late shift schedule, court schedule, I only
rest between noon and 4pm and am then with my clllidren getting them from school etc. My schedule does not
permit such surveillance of his whereabouts.

 I have surrendered and decided to sell my home. I have lived her 13 years. I do not want to sell my house.
However, my ability to rest is limited having such a vile and vindictive, obsessive neighbor, and no piece of property
is worth all of this. I cannot sell my home with a realtor without an order since he will be sending people to my
home or even come himself when I am not here for the open houses. I cannot have that occur. As it stands, I tried to
post a sale sign on my lawn, and he has called my home over two dozen times and I believe have had ·his friends call. I
can see the numbers on the caller ID, and when I research those numbers, they come to friends of his that are on his
facebook page. (He has no knowledge that I access the page).




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 street. I observed the shooting, identified myself as I pointed my weapon at him. This suspect ran south right into
 NTF. This case has been charged RES and is already sentenced. I also opened my door to every officer on the block,
 fed them and let them use my facilities. \iVhen a canvass was done, Poggenburg refused to talk to the police. Later,
 L. Poggenburg made statements that the "niggers across the street are same as the niggers next to me." Well, the
 ones next to him are my sons. A junior in College, attending Chicago State on a Division One baseball scholarship,
 and another a junior in high School; honor roll and all city first pick wide receiver and tight end, all city first string
 baseball offensive and all State defensive player as a Sophomore. Fine·young men I might add.

 The list of problems with my neighbor is endless. However to top off the lack of regard for me not only as an
 employee, but as a female, parent, but a citizen. I filed the appropriate paperwork, at the cost of $168. For a
harassment order. The hearing was November 28, 2011. I observed L Poggenburg home at this residence on
November 26, 2011. I went to District three where I filed the order, talked to Lt Obergon to ask someone to go to
5231 W Washington bld and serve the order since I observed him at home.                                    windows in the
rear of his home that do not have curtains.                                                              allow any officer's
at the district to serve the harassment order, stating             t want any part of it."
at District 3. Further that Metro had to serve the order. Outside of the fact that I am coming for help once more, I
presented and filed a legal document that I paid for, received and filed on my own time in hopes to finally get the help
that the police of the district that I reside and pay taxes in. The same officers and supervisors that stated that they
needed this document to arrest my neighbor if needed, to set the boundaries that he could not set for himself.

Eventually Lt of Police Jim Timm and Lt of Police Paul Kavanaugh served the order, but to L. Poggenburg' s wife.
Colleen Poggenburg told the Lieutenant of Police Jim Timm that her husband was at Menard's and would be
returning but only to leave out of town for two weeks. Instead of waiting until he returned from Menards, they
s.erved his wife. Subsequently I took off another day of work, as did two of my neighbors, a friend who witnessed his
actions, Grandmother to my children, and my eldest son who took off of school. Court Commissioner Nancy Sturm
refused to move forward since the wife was served, even though L. Poggenburg's lawyer Brent Linster was
representing him. Additionally the Lieutenants of Metro and CIB did not file the appropriate paperwork, leaving me
lectured by the commissioner that "I should know better that Lawrence needed to be s~rved and not his wife." I
wanted to reply, but did not, that if I could have done it, and done it right myself, I would have. The lawyer Linster
stated that Lawrence Poggenburg would be out of town for next two weeks and the Commissioner left me with eight
days to serve a document that I cannot since he is supposedly out of town. When he is not out of town, he hides from
our department. I requested that out of "Good Faith" that Linster service his client. He refused, stating, "I fmd it
ironic that someone that harasses her so much carmot be found by her."

Additionally, I had addressed this entire situation                                                                     e
with more experience and the fact that he was Acting Captain at the time could help after both Lawrence and Colleen
Poggenburg tried to get all of my personnel records from MPD. On 08-31-2011 both Colleen and Lawrence
Poggenburg requ~sted All calls for service to my home. I was informed by PSSI Frank Heinrich that he would make
appropriate redactions to the reports. Asking myself why anyone would want these reports, still evades me, other
than to get personal information about me in the burglary reports.




Colleen Poggenburg, the wife of Lawrence Poggenburg has never uttered a word to me, however has stood and
watched majority of these incidents, and lied to police when they have come for her husband. She has watched her
husband berate me, watched him shovel snow and blow leaves onto my stairs in th~ front of my home, and watched




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 him cut my trees and bushes. One winter when L Poggenburg was swearing at me and throwing snow on my cars
 with his snow blower, his father or father-in-law walked to my home and apologized (witnessed by another neighbor)
 and cleared all of the snow from my cars. L. Poggenburg has told me numerous times how he hates MPD since his
wife was married to a detective who beat her. I have no lmowledge of this (Det Larry Schimke) nor any validity in his
statement. However this may be part of his issue with me at hand.

I realize that by the time that anyone would even consider what or how to help me, December 7, 2011 at 10: 15am
will have passed and L. Poggenburg will not ha:ve been served, I will have fallen victim to more. Additionally, I will
have had to pay another $ 168 dollars that I do not have, my neighbors who are struggling in this economy cannot
continue to take off of work, nor can my son be asked to leave college to attend another hearing.



I would like to ask you, the head of my Departm~nt, what am I to do? How am I supposed to live? Where am I
supposed to turn for help? WILL SOMEONE PLEASE HELP ME?




Citizen

1632 N 53rd St

Milwaukee, WI 53208

(4-14) 4-05-4-617c(4-14) 4-55-3773h




          Case 2:16-cv-01089-WED Filed 04/22/19 Page 23 of 88 Document 80-17
            EXHIBIT#3

Case 2:16-cv-01089-WED Filed 04/22/19 Page 24 of 88 Document 80-17
                             Wisconsin Circuit Court Accec.;;
                                         '                --
                                                              (WCCA)
Shannon Lewandow~'<i vs. Lawrence Poggenburg
\



Milwaukee County Case Number 2011CV017284
Court Record Events
            Da-te            Event                                          Court Official        Court Reporter
    1       03-05-2012       Injunction hearing                             Amato, Dominic S.
                      Additional Text:
                      Petitioner appears in court. Respondent appears in court. De Nov Hearing for Injunction
                      proceeded. For reasons stated on the record, Court affirms commissioner decision and
                      Injunction remains in full force and effect. jci


            ~r.. 2°-2012     .~.mended
    2       UL-   v
                      Additional Text:
                      Notice of Hearing and Motion on Respondent's Motion to Review Decision I Ruling of Family
                      Court Commissioner, filed. jci


    3       02-22-2012       Notice
                     Additional Text:
                      to reschedule 3-2-12 Injunction hearing mailed to parties. filed. jci


    4       01-26-2012       Letters/correspondence
                     Additional Text:
                     from Attorney Brent Nistler, filed. jci


    5       01-20-2012      Transcript
                     Additional Text:
                     of 12-7-11 hearing, filed. jci


        6   12-19-2011    Amended
                    Additional Text:
                     Notice of Hearing and Motion on Respondent's Motion to Review Decision I Ruling of Family
                     Court Commissioner, filed. jci


        7    12-16-2011     Notice of hearing
                     Additional Text:
                     and Motion on Respondent's Motion to Review Decision I Ruling of Family Court Commissioner,
                     filed. jci


        J    12-07-2011     ·Injunction w/out firearm restriction           Honrath, William
                     Event Party
                     Poggenburg, Lawrence

        Paae 1 of2
                     Case 2:16-cv-01089-WED Filed 04/22/19 Page 25 of 88 Document 80-17
<
9    12-07-2011        Injunction grar ·                          Amato, Do·    1ic S.

10 12-07-2011          Injunction hearing                         Honrath, William         Digital Recording
              Additional Text:
              Petitioner appears in court. Respondent does NOT appear in court EXCEPT by attorney Michael
              Tuchalski. Respondent is reserving any jurisdictional defects, also indicated off the record that
              there's a challenge to the service. Petitioner does not agree to respondent's request to adjourn.
              Hearing for Injunction will proceed. Service is on file with the court. Sworn and examined:
              Petitioner. Sworn for petitioner: Denise Rogers. Petitioner's Motion for Injunction Granted and is
              effective until DECEMBER 07, 2013 (2 years). 4. Other: Respondent is not to subject the
              Petitioner to violent abusive or otherwise disorderly conduct under circumstances tending to
              provoke a disturbance. Filed, signed Injunction (Harassment).


11 12-06-2011          Proof of service                           TRO Court
              Additional Text:
              filed.


12 11-28-2011          Injunction hearing                         Sturm, Nancy L.          Digital Recording
              Additional Text:
              Petitioner appears. Respondent does NOT appear, Attorney Brett Nistler appears on behalf of
              Respondent, stating Respondent has not been served, ask court to dismiss matter. Respondent
              has NOT been served with a copy of the Temporary Restraining Order, Notice of Hearing, and
              Fact Sheet. The time for hearing on anlnjunction is adjourned to DECEMBER 7, 2011 at
              10:15AM ROOM 712, COURTHOUSE. If a temporary restraining order has been issued, it
              remains in effect until the injunction hearing is held. Petitioner given copies of Order. Filed,
              signed Order Extending Time for Hearing.


13 11-15-2011          Petition for TRO/injunction

14 11-15-2011          Temporary restraining order                Amato, Dominic S.

15 11-15-2011          Filing fee paid
                                            Amount
                                            $168.00
              Additional Text:
              11RV042493




Paae 2 of 2                                                                    Generated on 11-24-2015 at 12:17 om

              Case 2:16-cv-01089-WED Filed 04/22/19 Page 26 of 88 Document 80-17
            EXHIBIT#4

Case 2:16-cv-01089-WED Filed 04/22/19 Page 27 of 88 Document 80-17
     search      calendar        pay fees online   reports   help     view cart (0 items)


 State of Wisconsin vs. Lawrence E Poggenburg                                                  Printable Version (PDF)


 Milwaukee County Case Number 2015CM002479
 Court Record Events
                                                                                                         What Is RSS?   1m
         Date               Event                                   Court Official            Court Reporter
 1       08-25-2015         Summons and complaint
               Additional Text:
               SUMMONS MAILED. DEFENDANT ORDERED INTO ROOM 221 SAFETY BUILDING ON 10/1/15@ 1:30
               pm

 2       10-01-2015         Request for substitution                Sweet, David               Digital Recording
              Additional Text:
              Defendant Lawrence E Poggenburg in court with attorney Brent Daniel Nistler. Patrick J Anderson
              appeared for the State of Wisconsin. Request for Substitution of Judge received and filed. Court
              consented to substitution against Judge Siefert. Parties are advised the Clerk of Circuit Court
              reassigned case pursuant to current court rules to Judge Dee, Br. 37. Pre-trial conference scheduled
              for October 19, 2015 at 01:30pm.

 3       10-01-2015         Initial appearance                      Sweet, David               Digital Recording
              Additional Text:
              Defendant is advised this case is assigned to Judge Dee, Branch 37. Court reviewed the complaint and
              found probable cause. Defendant advised of right to counsel and complaint given to Defendant's
              attorney. Defendant plead not guilty. Case is adjourned for a Pretrial Conference in Branch 37.

 4       10-01-2015         No Contact Provision Ordered            Sweet, David               DioitaLRecording
              AdditionalTe~~                                                                 ~
              Signed and fi~fendant to have no contact 1 Shannon L. and her residenc '.
              Court advised defendant th~ailtrre to comply with conditions of b, il- may resul.tJD__ao._adtlit~en
              charge of bail jf:impifl§~                                                                          -

 5      10-01-2015          Signature bond set                      Sweet, David               Digital Recording
              Event Party            Amount
              Poggenburg,
                                     $ 1000.00
              Lawrence E
              Additional Text:
              DEFENDANT WAS ORDERED BY THE COURT TO REPORT TO THE MILWAUKEE COUNTY JAIL (CJF) TO
              BE BOOKED AND RELEASED BY 3:00 P.M. ON (10-2-2015). IF THEY FAIL TO APPEAR A BENCH
              WARRANT WILL BE ISSUED FOR THEIR ARREST.

 6      10-01-2015          Judicial transfer                       Dee-37, T. Christopher

 7      10-19-2015          Pre-trial conference                    Dee-37, T. Christopher    Off the Record
              Additional Text:
              Defendant Lawrence E Poggenburg in court with attorney Brent Daniel Nistler. Kelly O'Neill appeared
              for the State of Wisconsin. Deputy Court Clerk: TC. Defense counsel has received discovery and offer.
              Assistant District Attorney's office requests additional time. Court ordered case adjourned for
              projected guilty plea and sentencing I possible disposition in Branch 37. Agreed Upon Request for a




file:/I/C :/Users/Public/Documents/microsoft!Work%20docs/City%20ofl/o20... 1/15/2016
              Case 2:16-cv-01089-WED Filed 04/22/19 Page 28 of 88 Document 80-17
             New Court Date is signr        i ·nd filed. Plea/sentencing hearing schedule             r November 6 1 2015 at
             08:30am.

 8     11-06-2015         Scheduling conference                           Dee-37 1 T. Christopher              Digital Recording
             Additional Text:
             Defendant Lawrence E Poggenburg in court with attorney Brent Daniel Nistler. Brittany Skye
             Kachingwe appeared for the State of Wisconsin. Deputy Court Clerk: TC. Case calendared for
             projected guilty plea and sentencing. For reasons stated on the record 1 Court ordered case adjourned
             for status conference in Branch 31. Defense counsel requests jury trial date. Any and all motions are
             to be filed with the court by the final pretrial date. Case is adjourned for Final Pretrial Conference and
             Jury Trial 1 Branch 31. All parties are notified that effective 11-19-15 this case will be assigned to
             Reserved Branch 1 Branch 31 1 in Room 615 of the Courthouse. Status conference scheduled for
             November 24 1 2015 at 08:30am. Final pre-trial scheduled for January 11 1 2016 at 08:30am. Jury
             trial scheduled for February 15 1 2016 at 09:00am.

 9     11-24-2015         Substitution of attorney                        Flynn 1 Dennis                       Off the Record
             Additional Text:
             -Stipulation received from Attorney Craig A. Mastantuono on behalf of his client; received and filed.
             Deputy Court Clerk: TC.

 10    11-24-2015         Status conference                               Flynn 1 Dennis                       Off the Record
             Additional Text:
             Attorney Leah Thomas on behalf of attorney Craig Mastantuono in court. Kelly O'Neill appeared for the
             State of Wisconsin. Deputy Court Clerk: TC. Defendant's appearance waived for today's proceedings.
             Defense counsel would like final pre-trial on January 11 1 2016 at 1:30 p.m. not 8:30a.m.

 11    12-01-2015         Judicial transfer                               RifeiL Paul J.

 12    01-11-2016         Amended                                         Rifelj 1 Paul J.                     Digital Recording
            Additional Text:
            Defendant Lawrence E Poggenburg in court with attorney Craig Mastantuono. Jennifer L Pickett
            appeared for the State of Wisconsin. eputy Court Clerk: TC. Case calendared for final pre-trial. AS TO
            COUNT 1: On motion of the State, Court ordered charge amended to Disorderly Conduct1 contrary to
            County ordinance section(s) 63.01 1 a Class forfeiture. Defendant enters a plea of no contest. Court
            found the Defendant guilty. Court orders Defendant to pay a forfeiture of $25.00 including costs to be
            paid by 02-10-16 or Civil Judgment. Court ordered February 15 1 2016 at 9:00a.m. jury trial vacated.

 13    01-11-2016         Charge amended

 14    01-11-2016         Dispositional order/judgment                    Rifelj 1 Paul J.


 Printable Version (PDF)

 Return to Case 2015CM002479


    notice to employers 1 accuracy 1 public records on the internet I information on other sites I data extraction option 1 rss I court terms
Technical problems? Contact us.




file:///C:/Users/Public/Documents/microsoft/Work%20docs/City%20o:f0/o20... 1/15/2016
           Case 2:16-cv-01089-WED Filed 04/22/19 Page 29 of 88 Document 80-17
            EXHIBIT#5

Case 2:16-cv-01089-WED Filed 04/22/19 Page 30 of 88 Document 80-17
Anna M. Pepelnjak

From:                              Melanie < melaniecopper836@yahoo.com >
Sent:                              Tuesday, February 16, 2016 3:26 PM
To:                                Anna M. Pepelnjak
Subject:                           Re: From Det Melanie Beasley



Thank you. Have a nice day
Detective Melanie Beasley

Sent from my iPhone

>On Feb 16, 2016, at 3:09PM, Anna M. Pepelnjak <amp@wbb-law.com> wrote:
>
>Dear Det. Beasley,
> I have received your two voice mail messages, this email message and a fax regarding your inability to attend the Pl-21
interview on Friday, February 19, 2016. I wish you a speedy and full recovery.
>
> Because your health condition is indefinite in duration, I will prepare my investigative report without your input.
>
>Thank you,
>Anna Pepelnjak
>
>Sent from my iPhone
>
>>On Feb 16, 2016, at 6:27AM, Melanie <melaniecopper836@yahoo.com> wrote:
>>
>>Attorney Anna,
>>You advised me I am supposed to provide testimony this Friday morning regarding a memo Shannon Lewandowski
submitted to the Fire and Police Commission. I am on FMLA sick time and not able to attend to meeting. I will be in the
hospital all day on Friday.
>>Please send me a response back to this email So I am aware you have received and I'm accepted to not attend.
>>The Union President Mike Crivello has also been notified of the fact I'm not at work at this time due to being fully
incapacitated in treatment diagnosed by a psychiatrist.
>>Mike, I respectfully request you also call the fire and police
>>commission on my behalf and notify them as well that I am not able to testify at this time. I do not want there to be
any miscommunication in any way that I have ignored a Pl-21 or be punished for not attending for medical reasons
which were approved by the department. The attorneys number is 414-270-2518 Please both of you respond.
>> Sincerely,
>> Detective Melanie Beasley
>> 414-491-0792
>>
>>Sent from my iPhone




                                                             1



               Case 2:16-cv-01089-WED Filed 04/22/19 Page 31 of 88 Document 80-17
            EXHIBIT#6

Case 2:16-cv-01089-WED Filed 04/22/19 Page 32 of 88 Document 80-17
--------
 ~  '
 ROGERS
                                     3470DV~IIey   Road, Ot:oi'IOlllO'Mlt,. WI 53066·4500 P. 262-646-4411 F.l62·646-3150
                                     AdmiHions or Information 000·767•4411         rogmhOJpiiDI.Oil!


 MEMORIAL HOSPITAL
 --ure.WOith.Ltvtng.




                                                                                               February l61h, 2016



To whom it may concern,

          Detective Beasley is cWTently on FMLA for medical reasons and is unable to attend

scheduled Pla2l meeting on Friday February 19th, 2016. Please confirm receiptofthis
                                                ..
 documentation with Detective Beasley·at melaniecopJ2er83§@yahoo.com or 414-491-0792.

Please feel free to contact me with any further questions.

'Sincerely,




Dr. Hemalqtha Rajanna, M.D,
PTSD Psychiatrist
Rogers Memorial Hospital
PTSD Partial Hospitalization Program
4J4,.539w3000



 11101 West Linc:olnAvllnu&. Milwnukeo, W153227 P. 414.3:Z7·3000 F. 414·327·6045
 40Ei Scienc:e Drive, Madison, Wl53711·1098 P. 606·236~11 F. 608·238-4412
 4600W!!!t Schroedor Dtive, OI'OWil Door, Wl53223 P. 414-355-9000 F. 414-35S-9G65
 9!H6 751h Streel, Kcno$ha, WI 53142 [', 262·!14~·4000 F. 262·942-7740




         Case 2:16-cv-01089-WED Filed 04/22/19 Page 33 of 88 Document 80-17
            EXHIBIT#7

Case 2:16-cv-01089-WED Filed 04/22/19 Page 34 of 88 Document 80-17
                      WisconF~,
                        Circuit Court Acces'""                                      ~WCCA)
Melanie M Beasley vs. Robert 5 Wilkinson
Milwaukee County Case Number 2015CV000488
 Filing Date                            Case Type                  Case Status
 01-15-2015                            Civil                       Closed
 Class Code Description                Responsible Official
 Harassment Restraining Order          Conen-30, Jeffrey A.
 Branch ld
 30


Parties

 Party Type                       Party Name                                          Party Status
 Petitioner                       Beasley, Melanie M
 Respondent                       Wilkinson, RobertS


Party Details

 Beasley, Melanie M - Petitioner

      Date of Birth                            Sex        Race 1
      11-1974
      Address                                             Address Updated On


      Party Attorney(s)
      Attorney Name             GAL Entered
      Smith, Richard Joseph No        03-23-2015


Wilkinson, Robert S • Respondent

      Date of Birth                                        Sex                  Race 1
      08-1969                                              Male                 Caucasian
      Address                                                                   Address Updated On
      Party Address Sealed by Judge Conen-30                                    01-15-2015




 1 The designation listed in the Race field is subjective. It is provided to the court by the agency that filed the
  case.
 2 Non-Court activities do not require personal court appearances. For questions regarding which court type


Paae 1 of 2
               Case 2:16-cv-01089-WED Filed 04/22/19 Page 35 of 88 Document 80-17
   activities require court appearances, please contact the Clerk of Circuit Court in the county where the case
   originated.                        -




Paae 2 of 2                                                                   Generated on 03-01-2016 at 12:25 om
              Case 2:16-cv-01089-WED Filed 04/22/19 Page 36 of 88 Document 80-17
                     Wiscon~!t.,          Circuit Court Accesr                  ~WCCA)
Melanie M Beasley vs. RobertS Wilkinson
Milwaukee County Case Number 2015CV000488
Court Record Events
     Date        Event                                                  Court Official         Court Reporter
 1 01-15-2015 Temporary restraining order                               Conen-30, Jeffrey A.

2    01-15-2015 Petition forTRO/injunction

 3   01-26-2015 Petitioners statement of resp possession firearms       TRO Court
              Additional Text:
              filed. Yes, I believe the respondent currently, or within the past six months, owned or possessed
              firearm .. 40 caliber smith and wesson (1 ); ruger lcp .380 (1 ); rifles, shotgun


4    01-26-2015 Injunction hearing                                      Rustad, Janice M.      Digital Recording
              Additional Text:
              Petitioner appears in court with attorney Jamie Lavora. Respondent appears in court with
              attorney Dan Sanders. Hearing for Injunction proceeded. Sworn: Petitioner and Respondent.
              Examined and cross-examined: Petitioner 10:58 Break 11:12 Recall Case Same Appearances
              Continued cross-examination of petitioner. Redirect. Recross. Exhibits moved into evidence.
              11 :53 case adjourned to 1:15pm. 1:25 Recall Case Same Appearances. Redirect/Recross of
              petitioner. Exhibits moved into evidence. Sworn for petitioner: Shannon Lewandowski 2:35 take
              a break. 3:11 Recall Case Same Appearances. Petitioner rest. Sworn for respondent: Christine
              Wilkinson. Exhibit moved into evidence. Respondent examinded. The time for hearing on an
              Injunction is extended and rescheduled for MARCH 23, 2015 at 2:15PM, ROOM 712,
              COURTHOUSE. If a temporary restraining order has been issued, it remains in effect until the
              injunction hearing is held. Parties given copies of Order. Filed, signed Order Extending Time for
              Hearing. 4:18pm hearing concluded.


5    03-09-2015 Transcript
              Additional Text:
              from Injunction Hearing on 1/26/15 (173 pages), filed.


6    03-23-2015 Stipulation and Order                                   Conen-30, Jeffrey A.
              Additional Text:
              for Substitution of Counsel, signed and filed.


7    03-23-2015 Injunction hearing                                      Rustad, Janice M.      Digital Recording
              Additional Text:
              Petitioner appears in court with attorney Richard J. Smith. Respondent appears in court with
              attorney Dan Sanders. Hearing for injunction proceeded. Sworn and examined: Respondent
              Petitioner through counsel introduce photograph. Sworn for rebuttal: Petitioner Closing




Paae 1 of 2
              Case 2:16-cv-01089-WED Filed 04/22/19 Page 37 of 88 Document 80-17
             argument. The petitioner failed to meet the burden of proof. Harassment: 813.125 and 48.25(6),
             Wis. Stats. Domestic_ "Jse: 813.12, Wis. Stats. Filed, signed r. 'er Dismissing/Denying Petition
             for Injunction.


8   03-23-2015 Injunction denied                                      Rustad, Janice M.
             Event Party
             Wilkinson, RobertS


9   03-23-2015 Dismissed                                              Conen-30, Jeffrey A.

10 04-13-2015 Transcript
             Additional Text:
             of Injunction Hearing on March 23, 2015 (84 pages), filed.


11 05-13-2015 Petition
             Additional Text:
             Affidavit and Proposed Order Concerning Removal of Address Information from Online Records,
             received. Forwarded to the Court for review/signature


12 06-09-2015 Order                                                   Conen-30, Jeffrey A.
             Additional Text:
             Petition, Affidavit and Order Concerning Removal of Address Information from Online Records,
             signed and filed.


13 06-09-2015 Order to seal party address                             Conen-30, Jeffrey A.
             Event Party
             Wilkinson, RobertS




Paae 2 of2                                                                  Generated on 03-01-2016 at 12:25 om
             Case 2:16-cv-01089-WED Filed 04/22/19 Page 38 of 88 Document 80-17
             EXHIBIT#8

Case 2:16-cv-01089-WED Filed 04/22/19 Page 39 of 88 Document 80-17
                                                                      . Muwaukee Police Department
                                                                       ·   Police Administration Building
                                                                      ,.   7 49 West State Street
                             BE A FORCE                               '    Milwaukee, Wisconsin 53233
                                                                      :    http://www.milwaukee.gov/police


                                                                      : Edward A. Flynn
                                                July 2, 2013          ' Chief of Police

                                                                      ' (414) 935-7200
The Board of the
Fire & Police Commissioners
200 E. Wells Street - Room 706
Milwaukee, WI 53202

Dear Commissioners:

          I hereby nominate and appoint, subject to your approval, the following Police Aides:

                                          Dorian L. Andress
                                          Michael R. Braunreiter
                                          Jeremy A. Carter
                                          Alberto Figueroa
                                          Andrew T. Fuerte
                                          Robert J. Gregory
                                          Dominique L. Heaggan
                                          Jordan T. Herrmann
                                          Ryan A Lafond
                                          Paul A. Miner
                                          Maxwell T. Ours
                                          Kira L. Williams


to the rank of POLICE OFFICER in this Department to fill existing vacancies, effective SUNDAY,
AUGUST 4, 2013. These appointments are contingent upon successful completion of a medical
examination, drug screening, psychological evaluation, and background update.


                                               ?A:mitted,
                                                 EDWARD A. FLYNN
                                                 CHIEF OF POLICE
EAF:ac
cc: Payroll Supervisor Cindy Ratliff
F&P: 6/5/13




                                                    -,.·,;:·.
                                                    ,.   :'                 : '! ~ :_ .. .   '!



          Case 2:16-cv-01089-WED Filed 04/22/19 Page 40 of 88 Document 80-17
Fire and Police Commission
July 2, 2013
Page2




Approved by the Board of Fire and Police Commissioners:


Chairman




                                                 Date:
                                                         -----------------------
                                                 Executive Director




        Case 2:16-cv-01089-WED Filed 04/22/19 Page 41 of 88 Document 80-17
                                                                                                                       [.;,,.waukee Police Department
                                                                                                                   :   Police Administration Building
                                                                                                                  '    7 49 West State Street
                      BE A FORCE                                                                                   ;   Milwaukee, Wisconsin 53233
                                                                                                                 ·~    http://www.milwaukee.gov/polic.e


                                                                                                                  .i Edward A. Flynn
                                                                                                                  r Chief of Police
                                                                                                                 ~·1
                                                                                                                 ,:l
                                                                          July 2, 2013                           •:; (414) 935-7200
                                                                                                                 ~J




       The Board of the
       Fire & Police Commissioners
       200 E. Wells, Room 706
       Milwaukee, WI 53202

       Dear Commissioners:

               I hereby nominate and appoint, subject to your approval, the following named
       individuals to the rank of Police Officer, effective Monday, August 5, 2013:

       POLICE OFFICER (Eligible List) -Adopted, July 12.2012:

                                                     110. Anthony Walesby, II
                                                    138. Jeffrey Jopp
                                                    148. William Pamperin
                                                    149. Lee Xiong
                                                    151. Clayton Amborn
                                                    153. Luis Vargas
                                                    154. Michael Ritmanich
                                                    155. Juan Roman

              The appointments will fill existing Police Officer vacancies in the Police
      Department. These names appear in the indicated order on the eligible lists for Police
      Officer adopted by your Honorable Board on July 12, 2012. The appointments are
      contingent upon successful completion of a medical examination, drug screen,
      psychological test, and background update.

              These appointments total eight (8) individuals from the eligibility list and twelve
       (12) Police Aides being appointed to Police Officer. The Monday, August 5, 2013, class
      will consist of twenty (20) Probationary Police Officers.


                                                                                     ~mitled,


JID)CE~ fEDW~!n)                                                                        EDWARD A FLYNN
!r'·~r                      IIJJ                                                        CHIEF OF POLICE
:.; Uj Ju:_ s zu11         !0
    L,..... _ _ _ _ _ _ _ j
                            1      I
                                   1




LFIRE :~lD P_?_:~!-~~~~~~~~~-J
                                       ;·   .....   7             'J-: : ., _.;;, .··    ~-,-   ...··,.!'                   ,, _; ·.
                                ·';:                    ~.   •.   ;   1   ' '! ' '   . ·• ~ ~-      ~;   '   •                         .   !'...,~




        Case 2:16-cv-01089-WED Filed 04/22/19 Page 42 of 88 Document 80-17
Fire and Police Commission
July 2, 2013
Page 2




EAF:ac
F&P: 6/5/13
RECRUIT CLASS: 8/5/13

cc: Payroll Supervisor Ratliff


Approved by the BOARD OF FIRE & POLICE COMMISSIONERS:


Chairman




                                         Date:-----------


                                         Executive Director




   Case 2:16-cv-01089-WED Filed 04/22/19 Page 43 of 88 Document 80-17
             EXHIBIT#9

Case 2:16-cv-01089-WED Filed 04/22/19 Page 44 of 88 Document 80-17
 PE-27 5/87
                                        MILWAUKEE POLICE DEPARTMEN'l

                                                   EVALUATION REPORT

                                                                                PERIOD ENDING           June 30, 2014

NAME          AMBORN, Clayton                                       P.O.                           024062
                                                                    RANK                           P.S.#       S.S.#

DISTRICT/BUREAU/DIVISION              District 5                            SHIFT Late Power       ASSIGNMENT 54
                                    --~~----------------------------~--------~~~~~~------



Instructions: Rater to set forth in concise narrative manner specifically observed performance or behavior during rating
period. Area 3 should present a specific recommendation or course of action through which employee can improve
performance as specified in Area 2 of report.


1.. Identify area (s) where employee does-well or excels: P.O. AMBORN is currently assigned to district five, late
     power shift. He shows a positive attitude toward yvork and works well with others ..He is regularly punctual for duty
     and confoms to uniform and appearance standards. He has shown a desire to engage tn pro.active policing and
     appears to be learning the intricacies of his job, as well as his role in achieving departmental goals.




2.   Identify area (s) wher,e improvement is recommended: P.O. AMBORN is still a relatively new officer, having five
     months left before he completes his probationary period. As such, he still has much to learn and should strive to
     improve himself in all aspects of his job. Being a newer employee, he lacks much of the advanced training that is
     available that will make him more of an asset to the department. In the near future, P.O. AMBORN should focus on 1)
     increasing his self-initiated. activity, and 2) explore some training opportunites onc.e the busy summer months come to
     a close.




3. Recommended course of action through which employee can improve performance: P.O. AMBORN should
engage in all aspects of proactive policing including traffic stops and field interviews, thereby increasing his activity and
becoming more accustomed to the intricacies of the job. He should also look to specific training such as Narco-Pouch
operator, speed .enforcement training, and CSO/CST training. As P.O. ·AMBORN gains more experience, he should
consider the Leadership in Police Organizations (LPO) training course.




                Case 2:16-cv-01089-WED Filed 04/22/19 Page 45 of 88 Document 80-17
How long has employee worked             ;ater: 4 months




Other comments (continued from reverse, if necessary).


Merits/Commendations: None during this period


Disciplinary Actions: None this period


Memo Book: Conforms to departmental standards




Progress Evaluation: Satisfactory




Rater's Signature:                                                            07-!/-!Lf
                                                                                  Date




Shift Commander Signature:


I have read this report and it has been reviewed with a




DistricUBureau/Division
Commander's Signature:


             Case 2:16-cv-01089-WED Filed 04/22/19 Page 46 of 88 Document 80-17
 PR-89                                              Milwaukee Police Department
                                                  """'robationary Performance Report

                                   Check one:           Police Sergeant_
                                                       Police Officer X

[X ] Satisfactory                   [] Needs Improvement               [ ] Not Responding to Training (Unsatisfactory)

                                               (Note: Refer to Block N for special circumstances)


Number of previous rating periods with a rating of (if none in a category, indicate 0): Needs Improvement   0 or Unsatisfactory 0
                       '
    Name PO Clayton AMBORN                                            Rank Police Officer     PS# 024062                 Date of Report
                                                                                                                             07-04-14

    District                                                          Shift                                             Date Probation Ends
    District 5                                                        Late Power                                        12-6-2013
                        ..
INSTRUCTIONS: Complete either block! or II, and all blocks thereafter (exceptblocklV; ifnot applicable). Staple field training module evaluations
and reworked reports to this form.

 I.     OField Training (12th module ending date: _)


    Module#                  Assigned FTS/FTO Name


    )Module#                 Assigned FTS/FTO Name

                                                                                     ·"
    Module#                  Assigned FTS/FTO Name
               ..

IT.     [X] Probationary Period Evalua~on (for the month of: June)


 Regular Duty Assignment:

 Activity Days:

 Non-Activity Days:
                                                                                                                                               -I
  Sick/Injured Days:

    Other Absence Days:


                    PROBATIONARY POLICE OFFICER ONLY

                                   ACTIVTIY                      '                                     QUANTITY
      - Traffic (mo_ving)CitatiQ.ns Issued

      - Traffic (equipment) Citations Issued

      - Traffic (parking) Citations Issued
                                                                                                                    l

      - Other Municipal Cases Processed                                                                             '
J
      - StateNon-Traffic Cases Processed

      - Traffic W amings Issued

      - Field Interviews Written

      - Inter Agency Referrals Made


                       Case 2:16-cv-01089-WED Filed 04/22/19 Page 47 of 88 Document 80-17
ill. REMARKS:                        Give any spec,_ instances to support your evaluation, such as, outstal.. ~g accomplishments, improper actions, complaints
                                     or commendations. Ifprobationary sergeantfofficer was rated. A Needs Improvement= list specific areas for improvemf
                                     for a rating of A Unsatisfactory."' list reasons.

PO AMBORN has shown a positive e~;ttitude towards his work and an eagerness to learn. PO AMBORN works well with his co-
                     workers. PO AMBORN is punctual for duty and maintains a professional appearance. PO AMBORN has
                   . shown that he stays CJLJTent with crime 1rends in the district PO AMBORN'S activity during the month of
                     June was 12 arrest, 23 incident reports, 12 traffic stops and 5 subject stops.




In an effort to improve areas of performance the following con·ective measures have been (or will be) implemented:
On occasion PO .A..11BORN wi.Il be assigned to u proactive squad assigned with a vetera...< ?fficer ltt:lp.hlm improve on initiating self-generated activity.


Remedial trahling was (or will be) provided that consisted ofthe following:
N/A




Indicate how long F. T. Lieutenan:t/F. T. Sergeant has obs ru d employee's
F.T. Lieutenant's/F.T. Sergeant's Signatur~=~~~L:....«~~~-~~~~----Date o7-o4- !l{




IV. NON-PATROL DUTY OR UNAVAILABLE FORD                                                 CUMSTANCES
                                   SHIFT COMMANDER TO CHECK AND COMPLETE lF APPLICABLE FOR TillS RATING PERIOD

rB      This probationary sergeant/officer has been temporarily reassigned to non-patrol duty because (briefly describe reason for temporary reassignment)
         Limited duty due to an old duty injury and therefore, the rating indicated is limited to these duties. Probationary sergeant/officer was not rated for perfOrmance of duties
        in patrol setting, which comprises the probationary sergeant's/officer's essential duties and responsibilities.

r       Not rated for this monthly rating period because probationary sergeant/officer was unavailable for duty duriog rating period for_ days, because of

                                                                                                               (Specify number of days and reasons for off-duty status)


V.      E:MPLOYEE

     I have read this report and it has been reviewed with a supervisory

     Employee's Signature: PO Clayton AMBORN                      pt).                                                               'Date


                                                                                 ent, for other than A satisfactory progress= rating)




DISTRIBUTION:
        Original to Training Bureau
                    Case 2:16-cv-01089-WED Filed 04/22/19 Page 48 of 88 Document 80-17
         PR-89                                                . M:ilwaukee Police Department
                                                                :obationary Perforrnat1.Ce Report .
-~
             \;

                                               Check one:          Police Sergeant_
                                                                  Police Officer X

     [X] Satisfactory                           [] Needs Improvement             [] Not Responding to Training (Unsatisfactory)

                                                          (Note: !lefer to Block N for special circumstances)


    Number ofprevio~s rating periods wiih arating of(ifnone in a category, indicate 0): Needs Improvement          0 or Unsatisfactory Q
         Name PO Clayton AMBORN                                                  Rank Police Officer   PS#024062               Date of Report
                                                                                                                                    07-04-14

         District                                                                Shift                                        Date Probation Ends
             District 5                                                          Late Power                                   12-6-2013

                                                                                                                                ..
    INSTRUCTIONS: Complete erther block I or II, and all blocks thereafter (except block IV; if not applicable). Staple field training module evaluations
    and reworked reports to this form.

         I.        0 Field Training (12th module ending date:    _) ·


             Module#                    Assigned FTS/FTO Name
                                                                                   '
         l


         'Module#                       Assigned FTS/FTO Name

                                                                                                ;

         Module#                        Assigned FTS/FTO Name



    II.            [XJ Probationary Period Evalua~ion (for the month of: June)


         Regular Duty Assignment

         Activity Days:

    I Non-Activity Days:
         Sick/Injured Days:

         Other Absence Days:


                          PROBATIONARY POIJCE OFFICER ONLY

                                              ACTIVITY                      '                                   QUANTITY
                  - Traffic (rooving)Citatiqns Issued

                  -Traffic (equipment) Citations Issued

                  - Traffic (parking) Citations Issued

    ;'
                  -: Other Municipal Cases Processed
'
                  - StateNon-Traffic Cases Processed

                  - Traffic Warnings Issued

                  - Field Interviews Written

                  - Inter Agency Referrals Made

                                Case 2:16-cv-01089-WED Filed 04/22/19 Page 49 of 88 Document 80-17
ill. REMARKS:                        Give any specL..~ instances to support your evaluation, such as, outstan~.uug accomplishments, improper actions, cornplaiDt«
                                     or commendations. Ifprobationary sergeant/officer was rated. A Needs Improvement= list specific areas for improvem
                                     for a rating of A Unsatisfactory.:::: list reasons.

PO AMBORN has shown a positive a,ttitude towards his work and an eagerness to learn. PO AMBORN works well with his co-
                    workers. PO AMBORN is punctual for duty and maintains a professional appearance. PO AMBORN has
                     shown that he stays current with cri.me trends in the district. PO AlviBORN' S activity during the month of ·
                    June was 12 arrest, 23 incident reports, 12 traffic stops and·S subject stops.




In an effort to improve areas of perfoimance the foliowmg corrective measures have been (or :will be) implemented: . -.• - -
On occasion PO Atv.fBORN will be assigned to a proactive squad assigned with a veteran officer help him improve on iilltia...'ing self-generated activity.



Remedial training was (or will be) provided that consisted of the following:
N/A




Indicate how long F.T. Lieutenant/F.T. Sergeant has obs -~ d employee1s
F.T. Lieutenant's/F.T. Sergeants SignaturP.               ~ ~.                                                                                    Date a 7-ot;.- tl{




IV.    NON-PATROL DUT':i OR UNAVAll.ABLE FORD                                           CUMSTANCES
                                  SBJFT COMlv.lANDER TO CHECK AND COMPLETE IF APPLICABLE FOR THIS RATING PERIOD

lli    This probational')' sergeant/officer has been temporarily reassigned to non-patrol duty because (briefly descn'be reason for temponuy reassignment)
        Limited du1;y due to an old du1;y injury and therefore, the rating indicated is limited to these duties. Probationary sergeant/officer was not rated for performance of duties
       in pa.tm~ setting. whi~;b compris~ the prohafionary sere<".Hnt'sloffir-flr's "~sr.ntial rlntif.'S and resporu;ibiliti~E.

r      Not rated for this monthly rating period because probationary sergeant/officer was unavailable for duty diLri.ng rating period for_ days, because of

                                                                                                               (SpecifY number of days and reasons for off-duty status)


V.     EMPLOYEE

    I have read this report and it has been reviewed with a supervisory

    Employee's Signature: PO Clayton AMBORN                      Pt).                                                                 Date

                                                                                ent, for other than A satisfactory progress= rating)




DISTRIBUTION:
       Original to Training Bureau
                    Case 2:16-cv-01089-WED Filed 04/22/19 Page 50 of 88 Document 80-17
         PR-89                                              Milwaukee Police Department
                                                       ___ 'robationary Performance Report

                                          Check one:              Police Sergeant_
                                                                 Police Officer X

 [X] Satisfactory                          [ ] Needs Improvement              []Not Responding to TrainiD.g (Unsatisfactory)

                                                      [.Note: Refer to Block 1 V for special circumstances)


Number of previous rating periods with a rating of (if none in a category, indicate 0): Needs Improvement        0 or Unsatisfactory 0
         Name PO Clayton AMBORN                                               Rank Police Officer   PS#024062             Date of Report
                                                                                                                               09-05-14

         District                                                             Shift                                      Date Probation Ends
         DistrictS                                                            Late Power                                 12-05-2014
                                                                                                                                      .
INSTRUCTIONS: Complete either block I or TI, and all blocks thereafter (except blocklV; ifnot applicable). Staple field trainlngmodule evaluations
and reworked reports to this form.

         L    OField Training (12th module ending date:         _)


          Module#                 Assigned FTS/FTO Name


         lModule#                 Assigned FTS/FTO Name


          Module#                 Assigned FTS/FTO Name



rr.           [XJ Probationary Period Evaluation (for the month of: September)



IReguJ~ Dmy " " ' - Squad Pmrol                             .
         Activity Days: 13

II       Non-Activity Days: 0
                                                                                                                                                 I
         Sick/Injured Days: 0

         Other Absence Days: 0


                     PROBATIONARY POLICE OFF1CER ONLY

                                         ACTIVITY                                                             QUANTITY
             - Traffic (movi.ng)Citations Issued

             - Traffic (equipment) Citations Issued

             - Traffic (parking) Citations Issued

             - Other Municipal Cases Processed
     \


             - State Non-Traffic Cases Processed

             - Traffic Warnings Issued

             - Field Interviews Written

             - Inter Agency Referrals Made


                          Case 2:16-cv-01089-WED Filed 04/22/19 Page 51 of 88 Document 80-17
                                    Give any spem...~ illstances to support your evaluation, such as, out>i:anUJ.Ug accomplishments, improper actions, compla.Wtq
                                    or commendations. Ifprobationary sergeant/officer was rated. A Needs Improvement-"" list f!Peci£C areasforimproven:
                                    for a rating of A Unsatisfactory."=' list reasons.

PO AMBORl\f has shown a positive attitude towards his work and an eagerness to learn. PO AMBORl\f works well with his co-
                      workers. PO AMBORl\f is punctual for duty and maintains a professional appearance. PO .AJ:v.[BORl\f has
                       shown that he stays current with crime trends in the district PO .Alvl.:::BORN has shown that he has the ability
                       to work as a one-man squad. A review ofPO AMBORl\f'S activity during the month of September shows
                       the following: 0 arrest, 21 incident reports, 35 traffic stops and 1 su9Jiect stop. PO AMBORN incident
                      reports and traffic stops are above average, but arrest and subject stops compared to his peers· during the
                       same time period are below average.




In an. effort to improve areas of performance the following corrective measures have been (or will be) implemented;
O.u occasion PO AMBORN ·will he a.qflienecl to fl proActive squad assigned with a veteran officer help him improve on initiating self-generated actlvily. A
supervisor will meet with PO AMBORN regularly during the rating period to review his activity, to ensure that he his performing at a level comparable
with his peers. A sergeant will meet with PO AMBORN regularly to review his activity to ensure that he is performing at or above a level comparable with
his peers.


Remedial training was {or will be) provided that consisted of the following:
N/A




Indicate how long F.T: Lieutenant/F.T. Sergean ·                                               ed. employee1s·perfo
                                                                                                                ~
F.T. Li~utenant's/F.T. Sergeant's Signature                                                        u.uvt.          U ",                        Date 10-04-2014 ·


Shift Commander's Signature                       '1/r-tfv~ ~                                        JUtlClt!v'OVLC

IV. NON-PATROL DUTY OR UNAV~ABLE FOR DUTY CIRCUMSTANCES
                                 SIDFT COMMANDER TO CHECK. AND COMPLETE IF APPilCABLEFOR TillS RATING PERIOD

fE     This probationary sergeant/officer has been tewponrrily reassigned to non-patrol duty becanse (briefly describe reason for temporazy reassignment),
       Limited duty due to an old duly injury and 1herefore, 1he rating indicated is limited to 1hese duties. Probationary sergesot/officer was not rated for perfmmance of duties
       in patrol setting, which comprises 1he probationary sergeant's/o:fficer's essentiai. duties and responsibilities.

r      Not rated for this monthly rating period because probationary sergeant/officer was unavailable for duty during rating period for_ days, becanse of

                                                                                                              {Specify number of days and reasons for off-duty status)



V.     EMPLOYEE

     I have read this report and it has been reviewed wi~t,f~pfficer.

     Employee's Signature: PO Clayton AMBORN                   ~f;;l'ft-.0                                                          Date 09-05-2014


VI. COMMANDING omCER (C/O to int~ew and comment,J~ther than A satisfactory progres~ rating)

Signature            Ce~,~Jri'Ut4- j/ ~ (!:!!)                                                           Date       I o/tJs-/tl..f

Comments:


                   Case 2:16-cv-01089-WED Filed 04/22/19 Page 52 of 88 Document 80-17
 PR:89                                                 :Milwaukee Police Department
                                                                                                                                                    ..
                                                        Jbationary Performance Report                                                              ..

                                    Check one:             Police Sergeant_
                                                          Police Officer X

[X] Satisfactory                     []Needs Improvement                  [ ] Not Responcling to Training (Unsatisfactory)

                                                  (Note: Refer to Block IV for special circumstances)


Number of previous rating periods with a rating of(ifnone in a category, indicate 0): Needs Improvement     0 or Unsatisfactory 0
     Name PO Clayton AMBORN                                              Rank Police Officer   PS# 024062              Date of Report
                                                                                                                             09-05-14

     District                                                            Shift                                        Date Probation Ends
     District 5 I                                                        Late Power                                   12-05-2014

                                                                                                                        ..
INSTRUCTIONS: Complete e1ther block I or II, and all blocks thereafter (except block N; Ifnot apphcable). Staple field trammg module evaluations
and reworked reports to this fonn.

 I.      [] Field Training (12th module ending date: _)


     Module#                Assigned FTS/FTO Name


      Module#               Assigned FTS/FTO Name


     Module#                Assigned FTS/FTO Name



II.      [X] Probationary Period Evaluation (for the month of: August)


  Regular Duty Assignment: Squad Patrol

  Activity Days: 16

 Non-Activity Days: 0

  Sick/Injured Days: 0

  Other Absence Days: 0


                PROBATIONARY POLICE OFFICER ONLY

                                  ACTNlTY                                                               QUANTITY
       - Traffic (moving)Citations Issued

       -Traffic (equipment) Citations Issued                                                                                                  ..
       - Traffic (parking) Citations Issued

       - Other Municipal Cases Processed
_j     - State Non-Traffic Cases Processed
                                              ;

       -Traffic Warnings Issued

       - Field Interviews Written

       - Inter Agency Referrals Made


                      Case 2:16-cv-01089-WED Filed 04/22/19 Page 53 of 88 Document 80-17
Ill. REMARKS:                        Give any specific instances to support your evaluation, such as, outstanding accomplishments, improper actions, complaiJ'+--
                                     or commendations. If probationary sergeant/officer was rated, A Needs Improvement"' list epeci:fic areas for irnprovemt
                                     for a rating of A Unsatisfactory,=< list reasons.

PO AMBORN has shown a positive attitude towards iris work and an eagerness to learn. PO AMBORN works well with his co-
                     workers. PO AMBORN is punctual for duty and maintains a professional appearance. PO AMBORN has
                     shown that he stays current with crime trends in the district. PO AMBORN has shown that he has the ability
                    to work as a one-man squad. A review ofPO AMBORN'S activity thus far during this current Compstat
                     rating period (July 20- September 5) shows the following: 8 arrest, 40 incident reports, 29 traffic stops and
                     2 subject stops. PO AMBORN incident reports are above average, but arrest, traffic stops and subject stops
                     during this rating period compared to his peers are below average.




In an effort to :improve areas of performance the following corrective measures have been (or will be) implemented:                                                                    ,
On occasion PO Al'v.ffiORN Will be assigned to a proactive squad assigned with a veteran o:tlicer help him :improve on initiating self-generated activity. A
supervisor will meet with PO AMBORN regularly during the rating period to review his·activity, to ensure that he his performing at a level comparable
with his peers. A sergeant will meet with PO AMBORN regularly to review his activity to ensure that he is performing at or above a level comparable with
his peers.                                                                                                                                                 •


Remedial training was (or will be) provided that consisted of the following:
N/A




Indicate how long F.T. Lieutenant/F.T. Serge
F. T. Lieutenant' s/F. T. Sergeant's Signature ~=-4f!iF=::-:::---'<-¥'-="'----'--==t;...c::...__ _ _ _ _ _ Date 09-05-2014


                                                                                                                                                                                 ...t.r
                                                                                                                                                                                ·~···

IV. NON-PATROL DUTY OR UNAVAILABLE FOR DU                                                      STANCES                                                                             .   ~·


                                   SHIFT COMMANDER TO CHECK AND COMPLETE IF APPUCABLE FOR THIS RATING PERIOD

[2      This probationary sergeant/officer has been temporarily reassigned to non-patrol duty because (briefly describe reason for temporary reassignment)
         Limited duty due to an old duty injury and therefore, the rating indicated is limited to these duties. Probationary sergeant/officer was not rated for performance of d~ties
        in patrol setting, which comprises the probationary sergeant's/officer's essential duties and responsibilities.                                                            ·'

[       Not rated for this monthly rating period because probationary sergeant/officer was unavailable for duty durin grating period for_ days, because of

                                                                                                              (Specify number of days and reasons for off-duty status)


V.      EMPLOYEE

     I have read this report and it has been reviewed with a supervisory o:ffi

     Employee's Signature: PO Clayton AMBORN                                                                                          Date 09-05-2014




Comments:


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 PE-27 5/87
                                         IVIILWAUKEE POLICE DEPARTMEN'r

                                                   EVALUATION REPORT

                                                                                PERIOD ENDING          12-31-2014

 NAME         Clayton AMBORN                                       Police Officer                 024062      N/A
                                                                   RANK                           P.S.#       S.S.#

 DISTRICT/BUREAU/DIVISION             District 5                           SHIFT Late Power
                                    ~~~~------------------~~~~~~~--~~~~~~~-------
                                                                                                  ASSIGNMENT 54


 Instructions: Rater to set forth in concise narrative manner specifically observed performance or behavior during rating
 period. Area 3 should present a specific recommendation or course of action through which employee can improve
 perfomiance as specified in Area 2 of report.


 1. Identify area {s) where employee does well or excels: PO AMBORN, when at work, is prepared for duty and has a
     neat and clean uniform appearance. PO AMBORN gets along well with his peers and does not receive citizen
     complaints. PO AMBORN is a good team worker. PO AMBORN works effectively with co- workers and is respectful
     towards supervision. PO AMBORN accepts assigments willingly and without complaint PO AMBORN keeps informed
     of the latest trends and ·developments that occur in the district.




 Identify area (s) where improvement is recommended: During comp stat rating period, June 1, 2014 through July 19,
 2014, the power shift means were as follows: 69 traffic stops, 16 subject stops, 10 arrest and 34 incident reports. PO
 AMBORN'S activity during this rating period compared to his peer during this rating period is as follows: 45 traffic stops, 6
 subject stops, 12 arrest and 32 incident reports. Traffic stops, subject stops and incident report are below an acceptable
 level compared to his peer during this rating period. PO AMBORN'S arrest activity during this rating period was above
 average.

· During camp stat rating period, July 27, 2014 through September 13, 2014, the power shift means were as follows: 56
  traffic stops, 20 subject stops, 10 arrest and 38 incident reports. PO AMBORN'S activity during this rating period
  compared to his peer during this rating period is as follows: 25 traffic stops, 2 subject stops, 6 arrest and 35 incident
  reports. PO AMBORN'S traffic stops, subject stops, arrest and incident reports were all below an acceptable level
  compared to his peers.

 PO AMBORN has a poor attendance record. PO AMBORN has been absent for a substantial portion of this evaluation
 period.                                                                                             ·




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                                 ~
2.   Recommended course of actioi .rough which employee can improve pt. Jrmance: PO AMBORN can
     improve is performance by improving his attendance. By improving his attendance his activity will improve. PO
     AMBORN will also improve his activity my focusing on patrolling in the district hot spots, and focusing ori target
     vehicles, during his unobligated patrol time. ·          ·

 Short term goal: PO AJVlBORN should improve his     attendanc~

Long term goals: PO AMBORN should continue to seek additidnal training to expand his knowledge base and to also
improve his overall activity.




How long has employee worked for rater: 12 months




Other comments (continued from reverse, if necessary). On Sunpay, June 8th, 2014, PO AMBORN and his partner
responded to a Strong Armed Robbery. PO AMBORN and his partner arrested 5 .subjects regarding the Strong Armed
robbery. PO AMBORN also conducted custodial interrogations regarding.

PO Ambom has completed the credit requirement.




Progress Evaluation: PO AMBORN needs improvement




Rater's Signature:
                                                                                                                          IS
                                                                                                              Date



Shift Commander Si~nature:
                        ·.                                                                                     Date

f have read this report and it has been reviewed wit a


~ployee    Signature:        ~' Af'1~"1'1,j
                         P() -~
                             ,   .• ··                   Rank/1ltle


District/Bureau/Division
Commander's Signature:
                Case 2:16-cv-01089-WED            Filed 04/22/19 Page 56 of 88 Document 80-17
                                                          Milwaukee Police Deparhnent
                                                       i'robationm-y Perfqrmance Repmi
\ .. '··.             -

                                      Check one:              Police Sergeant_.
                                                             Police Officer X
                                                                                                                            ...
[X] Satisfactory                         [ ] Needs Improvement                  []Not Responding to Training (Unsatisfactory)

                                                   (Note: Refer to Block IV for special circumstances)


Numbe~·ofprevious rating periods with a rating of,(ifnone in a category, indicate 0):            Needs hnprovement   0 or Unsatisfactory 0
      Name PO Clayton AMBORN                                                  Rank Police Officer       PS# 024062                Date ofReport
                                                                                                                                       02-08-2015

      District                                                               Shift                                          Date Probation Ends
      District 5                                                            .Late Power                                     03-18-2015


INSTRUCTIONS: Complete either block I or Il, and all blocks thereafter (except block IV; 1f not apphcable). Staple.field training module evaluations
an_ci reworked reports to this form.

     I.       DField Training (12th   module ending date:' .,J          .   --·:_.-


      Module#                   Assigned FTS/FTO Name


     )Modul~#                   Assigned FTS/FTO Name                       .....·.·-.-:   ..


     Module#                    Assigned FTS/F~O Name
                                           ..· - .. --


II.           [XJ Probationary Period Evaluation (for the month of: August)


     Regular Duty ASsignment: Squad Patrol

     Activity Days:

     Non-Activity Days:

     Sick/Injured Days:

     Other Absence Days:

                   PROBATIONARY POLICE OFFICER ONLY

                                     ACTIVITY                                                                  QUANTITY
          - Traffic (moving)Citations Issued

          -Traffic (equipment) Citations Issued

          - Traffic (parking) Citations Issued

          - Oth.er Municipal Cases Processed
)'
          - State Non-Traffic Cases Processed

          -Traffic Warnings Issued
                                                                                                                        -
                                                                                           ...
          -Field Interviews Written
          ~   Inter Agency Referrals Made


                          Case 2:16-cv-01089-WED Filed 04/22/19 Page 57 of 88 Document 80-17
           ill. REMARKS:                           Give any specific ins~ances to support your evaluation, such as, outstanding accomplishments, improper actions, compl' · •
                                                   or commendatiOns. lfprobatwnarv sergeant/officer was rated. A Needs lriiprovement= hst specrfic areas for rm:prover.
                                                   for a rating of A Unsatisfactory.= list reasons.

           PO AMBORN has shown a positive attitude towards his work and an eagerness to learn. PO AMBORN works well with his co-
                     .         werkers. PO AJv.ffiORN is punctual for duty and maintains a professional appearance. PO AMBORN has
                                shown that h.e stays current with crime trends in the district PO AJv.ffiORN has shown that he has the ability
                               to work as a one-man squad. A review of PO AMBORN'S activity during the month of January shows the
                               following: 0 arrest, 13 incident reports, 33 traffic stops and 4 subject stops.




           In an effort to improve areas of performance the following corrective measures have been (or will be) implemented:
           On occasion PO AMBORN will be assigned to a proactive squad assigned with a veteran officer' help him improve on initiating self-generated activity. A
           supervisor will meet with PO AMBORN regularly during the rating period to review his activity, to ensure that he his performing at a level comparable
           with his peers. A sergeant will meet wlth PO AMBORN regularly to review his activity to ensure t.h.at he is performing at or above a level comparable with
           his peers.                                        ·



           Remedial training was (or will be) provided that consisted of the following:
           N/A




           Indicate how long F.T. Lieutenant!F.T. Serge:ti obtt~~ce:                                                                                                         o.).-l7 ,-!_5
           F.T. Lieutenant's/F.T. Sergeant's Signature                                           .,               ~                                .                Date·,        .      ..


           Shift Commander's Signature                            1-I"H6        ttt,'   ~1/l.~~ IV rL ClNa. uc_
           IV. NON-PATROL DUTY OR UNAVAILABLE.FOR DUTY CIRCUMSTANCES
                                               SHIFT COMMANDER TO CHECK AND COMPLETE lF APPLICABLE FOR TillS RATING PERIOD

           rs      This probationary sergeant/officer has been temporarily reassigned to non-patrol duty because (briefly describe reason for temporary reassignment)
                    Limited duty due to an old duty injurv and fu(:refore, fu(: rnting indicated is limitlil to these oufie.q Prnh:~tinn:ll}' sr.rzr,;mtloffic:r.r w~s not rated for perfonnance of duties
                   in patrol setting, which comprises the probationary sergeant's/officer's essential duties and responsibilities.

           r       Not rated for this monthly rating period because probationary sergeant/officer was unavailable for duty during rating period for_ days, because of

..... _,                                                                                                                       (SpecifY number of days and reasons for off-duty status)



           V.      EMPLOYEE

                I have read this report and it has been reviewed with a superv'so

                Employee's Signature: PO Clayton AMBORN                                                                                                 Date     z/r7 /rf
           ~·      C~l\11Vf_A~n:G OFFICE;} (C/O to interview and .c;o~ent, for other than A satisfactory progres~ rat~~

           S1gnature ·          {!~,~Ut4-R. ~@                                                                            Date      tJ~/rtjts
           Comments:



           DISTR.IBUTION:
                   Original toCase
                              Training 2:16-cv-01089-WED
                                       Bureau                                       Filed 04/22/19 Page 58 of 88 Document 80-17
             PR-89                                              Milwaukee Police Department
                                                               urobationary Performance Report

                                                  Check one:          Police Sergeant_
                                                                   . Police Officer X

         [X ] Satisfactory                            []Needs Improvement          []Not Responcling to Training (Unsatisfactory)

                                                            (Note: Refer to Block IV for special circumstances)


         Number of previous rating periods with a rating of (if none in a category, indicate 0): Needs Improvement      0 or Unsatisfactory Q
             Name PO Clayton AMBORN                                               Rank Police Officer     PS# 024062                Date of Report
                                                                                                                                         03-07-2015

             District                                                             Shift                                           Date Probation Ends
             District 5                                                           Late Power                                      03-18-2015


         INSTRUCTIONS: Complete either block I or ll, and all blocks thereafter (except block IV; ifnot applicable). Staple :field training module evaluations
         and reworked reports to this form.

             L     IJ Field Training (12th module ending date:     _j


             Module#                     Assigned FTS/FTO Name


             ·Module#                    Assigned FTS/FTO Name


             Module#                     Assigned FTS/FTO Name



         II.       [X] Probationary Period Evaluation (for the month of: February)


             Regular Duty Assignment: Squad Patrol

             Activity Days:

             Non-Activity Days:

             Sick/Injured Days:
                                                 ·.
             Other Absel?-ce Days:


                          PROBATIONARY POLICE OFFICER ONLY

                                            ACTNJTY                                                               QUANTITY
                 - Traffic (moving)Citations Issued

                 -Traffic ( equipment) Citations Issued

                 -·Traffic (parking) Citations Issued

                 - Other Mun ic-i nal Cases Processed
         )
..   -   J
                 - State Non-Tra!Iic Cases Processed

                 - Trnffir. W"rnino-o T~~n"'rl

                 -Field Interviews Written

                 -Inter Agency Referrals Made


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III. REMARKS:                       Give any specifi... -.otances to support your evaluation, such as, outstandih, ...ccomplish<nents, improper actions, complaints
                                    or commendations. If probationary sergeant/officer was rated, A Needs Improvement= list specific areas for improvement:
                                    for a ratine: of A Unsatisfactory,:= Jist reasons.

PO Alv.IBORN has shown a positive attitude towards his work and an eagerness to learn. PO AMBORN works well with his co-
                       workers. PO AMBORN is punctual for duty and maintains a professional appearance. PO AMBORN has
                       shown that he stays current with crime trends in the district. PO AMBORN has shown that he has the ability
                       to work as a one-man squad. A review ofPO AMBORN'S activit-y during the monfu ofFebruary shows fue
                       followi..ng: 2 arrest, 10 incident reports, 56 traffic stops and 1 subject stops. PO P..MBORN has improved
                       his traffic activity fuis month.                            ·




In an effort to improve areas of performance the following corrective measures have been (or will be) implemented:
On occasion PO AMBORN will be assigned to a proactive squad assigned with a veteran officer help him improve on initiating self-generated activity. A
supervisor will meet with PO Alv.lBORN regularly during the rating period to review his activity, to ensure that he his performing at a level comparable
with his peers. A sergeant wilJ meet with PQ AMB.ORN regularly to review his activity to ensure that he is performing at or above a level comparable with
his peers.


Rerp.edial training was (or will be) provided that consisted of the following:
N/A




b.dicate how long F.T. Lieuten~t!F.T. Sergeant~b~:Ced employ~~ce:
F.T. Lieutenant's/F.T. Sergeant's Signature A--~M-~~       ~                                                    /                               Date   a 3 ~d?-l,S
Shift .Corpmander's Signature                     1-J.JJf14~-t~c-J-r.--C                                 \JV!Lr'!t/\i 0 viC..                   Date     ~~/tofts;-

IV. .NON-PATROL DUTY OR UNAVAILABLE FOR DUTY CIRCUMSTANCES
                                  SIDFT CO:tvfMANDER TO CHECK AND COMPLETE IF APPLICABlE FOR TillS RATING PERIOD

r3     This probationary sergean1iofficer has been temporarily reassigned to non-patrol duty because (briefly describe reason for temporary reassignment)
        Limited duty due to an old dutv injmy and therefore, the rating indicated is limited to these duties. Probationary sergeant/officer was not rated for performance of duties
       in patrol setting, which comprises the probationary sergeant's/officer's essential duties and responsibilities.

r      Not rated for this monthly rating period because probationary sergeant/officer was unavailable for duty during rating period for_ days, because of

                                                                                                              (Specify number of days and reasons for off-duty status)


V.     EMPLOYEE



     Employee's Signature: PO Clayton AMBORN

VI.    COMMANDING OFFICER J,C/0 to interview and comment, for other than A satisfactory progress= rating)

)ignature           {2;.~~Jrlttz /i_ ~@)                                                                 Date       &   ~/     t0   /t s-
Comments:



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  PE-27 5/87
                                          MILWAUKEE POLICE DEPARTMENT .

                                                 EVALUATION REPORT

                                                                               PERIOD ENDING           OE-31-2015

  NAME         PO Clayton AMBORN                                   Police Officer                 024062     N/A
                                                                   RANK                           P.S. #     S.S.#

  DISTRICT/BUREAU/DIVISION            5   .                                SHIFT Power            ASSIGNMENT Patrol
                                    ~----------------------~~~--~------~~~~~~~~-----



  Instructions: Rater to set forth in concise narrative manner specifically observed performance or b€lhavior during rating
  period. Area 3 should present a specific recommendation or course of action through which employee can improve
  performance as specified in Area 2 of report.


  Identify area (s) where employee does well or excels: PO AMBORN, when at work, is prepared for duty and has a
  neat and clean uniform appearance. PO AMBORN gets along well with his peers and does not receive citizen complaints .
. PO AMBORN is a good team worker. PO AMBORN works effectively with co- workers and is respectful towards
  supervision. PO AMBORN accepts assigments willingly and without complaint. PO AMBORN keeps informed of the latest
  trends and developments that occur in the district




 Identify area (s) where improvement is recommended: PO AMBORN has shown that he is a capable officer when is
 working, but he has a poor attendance record and is on medical substantiation. PO AMBORN should strive to improve his
 attendance, which will improve his activity during the next evaluation period.




 3. Recommended course of action through which employee can improve performance: PO AMBORN could
 improve his performance by requesting to attend specialty-training course order by the academy or other Law
 Enforcement entities.




--~-)




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How long has employee worked fc..       .. ter: 18 months




Other c~mments {continued from reverse, if necessary). N/A




Progress Evaluation: PO AMBORN needs improvement.




         No ~t::-:          ~o      /'9/J-1 .&o /
                                               /(./ A/-ee-as /                     "'/?'?r
                                                                                     /'-ave       ~ .!!?~
    ,//v       o /' e cz s        c?F      d-? c-/ s ,co , v /17 H t<:, «,-....r9';_
                                            ;<e~o/'-r- ~r,~Y/"'~.9'
                                       /I ~rt- d a- ,.z./C-e..
                                   ct-- f~/Ve?I.A:./£e.~ye c::rF- ?Ot-v.d -o/-jJrtJce-/v/es"
                                                                      '


                            Sg~--- Gr'-a/1/-r- A qs p,~ed- /Jfe-~o :s o/"f-/
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                                     1
                         r:ro A-caderur          Fc:>r- y,ra,~...-r-~- ~" ~


Rater's Signature:
                                                       Rankllrtle v



Sh~ft   Commander Signature:
                                                              ·       itle     ·                           Date
               .                                            ~-/
I have read this report and it has been reviewed with a Supervisory Officer.



Employee Signature:
                   -
                        Po.~ .                        ""Rankffitle
                                                                                                      g(rL/rs-
                                                                                                       1   Date


_District/Bureau/Division
 Commander's Signature:
                                                                                              ·   ·        Date


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           EXHIBIT#JO

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  Name:                 AMBORN, CLAYTON R
  Last Known
  Address:              N/A
  Month of Birth:       09/1984
  Sex:                  Male
  Race:                 White



Case Information
  Case Type:            Traffic citation                                       Status:             Closed
                        Statute 346.63(1)(b ), Operating While Intoxicated -
  Violation:                                                                   Citation#:          U8747874
                        BAC .08%+
  Violation Date:       03/08/2015 01:15AM
  Location:             1ST ST S I 800 BLK                                     Deposit Amount:     $811.00
  Plea:                 No Contest                                             In Collection?      No
  Plea Entered By:      Defendant                                              Installment Plan?   No

Judgment
  Finding:              Guilty - Suspended Sentence                            Date:               05/21/2015
  Penalty:              $0.00                                                  Due On:             05/21/2015




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  Name:                       AMBORN, CLAYTON R
  Last Known
  Address:                    N/A

  Month of Birth:             09/1984
  Sex:                        Male
  Race:                       White



Case Information
  Case Type:                  Traffic citation                                    Status:                Closed
  Violation:                  Statute 346.63(l)(a), Operating While lntoxicated   Citation#:             U8747863
  Violation Date:             03/08/2015 01:15AM
  Location:                   1ST ST S / 800 BLK                                  Deposit Amount:        $811.00
  Plea:                       No Contest                                          In Collection?         No
  Plea Entered By:            Defendant                                           Installment Plan?      No

Judgment
  Finding:                    Guilty                                              Date:                  05/21/2015
  Penalty:                    $861.00                                             Due On:                07/20/2015
  Balance Due:                $0.00                                               Branch:                1


  Additional Penalty                                                              Amount                              Enforced On
  AODA Assessment                                                                 1 Program attendance
  DL Revocation - Concurrent                                                      180 Days                            05/22/2015
  Ignition Interlock Device                                                       365 Days                            05/22/2015


  Alternative to Non-Payment by Due Date                                                                              Enforced On




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          EXHIBIT#ll

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                                                                         CIVIL                                    COURT
                                                                                     NORTII               AOMINISTnATION
                                                                                 INVESTIGATIONS                   SECTION
                                        OFFICE OF
                                                                                    DIVISION
                                       COMMUNITY
                                                                                                       PROPERTY CONTROL
                                      OUTREACH AND
                                                                                      SOUTH                 SECTION
                                                                                 INVESTIGATIONS
                                                                                     DIVISION
                                                                                                                 TECHNICAL
                                                                                                         COMMUNICATIONS
                                                                                      FINANCIAL
                                                                                     CRIMES UNIT                  DIVISION

                                                                                                        FACILITIES SERVICES
                                                                                  METROPOliTAN
 PLANNING&                                                                                                        DIVISION
                                                                                 INVESTIGATIONS
  LOGISTICS                                                                         DIVISION
                                                                                                                 FLEET SERVICES
   POLICY,                                                                                                          SECTION
                                                                                 SENSITIVE CRIMES
 RESEARCH &
                                                                                     DIVISION
DEVELOPMENT                                                                                                        PRINTING &
                                                                                                                 STORES SECTION
  GKANT&
 COMMUNITY                                                                                                      INFORMATION
DEVELOPMENT                                                                       INVESTIGATIVE                    SYSTEMS
                                                                                 M/INAGEMENT                       DIVISION
COORDINATION
                                                                                    DIVISION
 STRATEGIC&                                                                                                      TECHNOLOGY
                                                                                                                    UNIT

                                                                    DIVISION
                                                                                                                    RADIO

                                                                    BACKGROUND



                                                                                      CENTER


                                                                                        STAC




                                                     •,;!   '!   --~I~                              :, ' I ..
                                                                                                    I ~•• •; •

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           EXHIBIT#12

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 Cit}' o.f Milwaukee
 CS-25, Rev. 12109                      JOB D-ESCRIPTION                                                                     FOR DERUS!: ONLY
                                                                                                         -~ac~ilcy         t-jp, :-'-'.;;,.-.~···'"'"'·~.,...,;,.;_..,...,_-"-....:..,...,....;;
                                                                                                         ~1\y.:~eivlq~                                    Ftl:l~ri9i'i :' . .
Jnstructions: Complete all sections, Refer to the Guidelines for Preparing Job                           Ocimmtssia11: .,....·...;,·..,...,.-,--          ool))rn!t(ee:. _ .._·_.
Descriptions for instructions on completing specific Items.                                          :RirEi'·~ P.~lloe         · . ··                     Goiiimoh ·            ·
                                                                                                    . commission: .·                                      council;

1. Date Prepared/ Revised:                2.   Pr~s~nt   Incumbent:                                               ls    in~umb~nt                  underfilllng position?
         ·4/15/15                                                  Variou~
3. Da:te Filled:                          4. Previous Incumbent:                                                  YESO        N.O lSJ
                                                                  Valious                                         If YES, lndtoate Underfill Title in b.ox 10,
5. Department:                                               Sureau: Varied.                                    . Unit:·
 Pollee Department                                           Divisi9r.t:                       ·~   ..            Section:·
                                                             Telephone:                                           Work S.chedu.le:
6. Work Location: Varied                                                                                          Hours: : 8 hr shifts;· vai'lbus start tlme.s
                                                             Email:
                                                                                                                  f     oa s:
7.   Represent~d      by a                s:   Bargaining Unit: local21; Mi!w Police Assn                                   9. FLSA Status (check one);
     Union?. [g) Yes         0     No     If in DJstrict Council 48 which local?                                             D ExempJ [g] Non-Exempt
10. Official Title:                                                                                                   Pay Range   Job c·ode    EEO Code
       Pollee Officer                                                                                                      4B                        2342
          Underfill Tftle (if appficable)z       I                                                                                                                                             --
        Requested Title (if applicable):         I
         RectJmm.etid ~d· T.ltle (DER Os~·:(Jnty).:                    Approve~.
                                                                       IW:             S4/£ ·
                                                                                  . . ·....
                                                                        Date:    C:!BfznAS'                                                                                            '
                                                                                                                                                                                                    !
                                                                                   (    {
11. BASIC                                            FUNCTI,ON                                            OF                                                              POSITION:

     The preservation of public peace, protection of life and properly, prevention o~ crime·, enforcement of ordinances of the
     City of Milwaul<ee and the laws of the State of Wisconsin, ·and the arrest of violatois thereof'in accordanc~ with the Code.
     of Conduct· and mission of the MllW!;'Ukee Pollee Department.


12. DESCRIPTION OF JOB (Check if description applies to Official Title lZl or Underfill Title 0)~

            A.  ESSENTIAL FUNCTIONS/Duties, and Responsibilities: (~efer to the- "Guidelines tor Prf;pwing Job
                Descriptions" for instructions oil determinin~ /Es.sential Functions)
              %of Time                                           ESSENTIAL FUNCTIONS
              100             •     Carries and maintains flrewms·~nd otherdefenslv~ weapons In accordance .with o.fflolal training.
                              •     Executes powers of arrest and control, including full search-of arrestee.               ·
                              •     Serves as a credible witness in court a·nd administrative proceed! Ms .
                              •     Ha~ working imowledg-e of the Wisconsin criminal and traffic laws ana Cltv of Mllwaul(ee.ordlnances ..
                              •     Enforces criminal laws, ldentifres, detalhs, ~nd processes wanted lndivldup.ls, ?II in accordance with the
                                    Constitution of the United States, State of Wisconsin and ordinances of tl:re Ci~y of Milwaukee.
                              •     Responds to oC)Ils for service or traffic related assig_rimenls In or1:l~r of priority and hC)ndles such calls
                                    efficiently ~nd responsibly, consistent wlth training, Department dlr~otlves, Cede of Conduct,. and Standard
                                    Operating Procedures·.
                              •     Conducts or.ime s.cene investigations, prqperly 9o9u.mentlng all pertinent fnformatlon to such investig~tion ·
                                    incltidlnff, avid~nce recoyel)' and presel\l~tiQn, wttne·ss ~nd si.rsP.ect statements, and provides such
                                    lnformat on to the. commanding officers.
                              ..    Physically control s\)spects who are actively r'el?isting arrest ensuring the liumane treatinehf and care of
                                    prisoners detained.                                · ·          ·             · · . . .·             . ·       · ·
                              •    ·Prepares and testifies lti court as to the· facts surrounding any crii'nlnal, departmental, ·or civil action·.
                              •     Properly and thoroughly documents all pertinent information. needed to prepare for and present a ·case ln
                                    the Dlstriyt Attorney's Office for charging. Ensures accurate entry 9f all lnformaUo.n Into the Records
                                    ManaQement Svstem.


The above statements are intended to summarize the nature and level of work and IYpic:al-responsibllilies and duties being pfilrformed by the incurnbant(s)
                of /his job. They ere not'/nteiJded to be an exhauslfve list of all ((;Jsponslb/1/tles, duties, and tasks required of the position.

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               %ofTime                                                    ESSENTIAL FUNCTIONS
                               • Using the data available, familiarizes him/herself with the dally crime trends, auspect and/or vehicle
                                 descriptions, and when directed, deploys to those areas to abate crime and to apprehend those individuals
                                 responsible.
                               • Identifies and develops strategies to solve problems, utlll~ing data and the analysis of data to manage
                                 those issues,
                               • Develops and maintains functional knowledge of the technology available to properly elicit information
                                 relative to offensea and to properlY report those inoidenr, of which an officer takes cognizance.
                               • Maintains a professional demeanor and displays a proper attitude in all dealings with citizens, supervisors
                                 and other departmental personnel.
                               • Acts in a manner consistent with the Code of Conduct, Policies and Procedures and Standard Operating
                                 Procedures as set forth by the Chief of Pollee.
                               • Participates in and succ~~sfully completes all required training (e.g,, recruit, field, probationary, CPR,
                                 firearm DAAT, EVOC etc ,
                               • Reports to duty fully eg!:!JP.ped, prepared, and fit for the full duration of hlslher scheduled shift.

             B. PERIPHERAL DUTIES:
              %of Time                                                         PERIPHERAL DUTY
                       • Other duties as assigned .
                               •
                               •
                               •
                               •
                               •
                               •
                               •
                               •
                               •
             C. NAME AND TITLE OF IMMEDIATE SUPERVISOR:
                   Normally a Police     Sergean~,    but could be a Lieutenant of Pollee, Captain of Pollee, or Civilian Manager,

             D.    SUPERVIS£0N RECEIVED: (Describe the extent to which work assignments and methods are outlined,
                   reviewed, and approved by this position's supervisor.)

                   A pollee officer is supervised by a member of a higher rank who makes assignments of work and discusses
                   methods to be employed in the performance of such duties, reviews and approves work performed, and
                   instructs the pollee officer in the proper method of performing all the duties of an officer.

             E. SUPERVISION EXERCISED:
                   Total number of employees for whom responsible, either directly or indirectly                  =None.
                   Direct Supervision: list the number and titles of personnel directly supervised. Specify the kind and extent
                   of supervision exercised by_ indicating one or more of the following:
                    a. Assign duties                                      e. Sign or approve work
                    b. Outline methods                                    f.   Make hiring recommendations
                    c. Direct work ln progress                            g. Prepare performance appraisals
                    d. Check or inspect completed work                    h. Take dlsciQIInary aclion or effectivelY recommend such




Th~   above statements are intended to summarize the nature end level of work and typiG8/ responsibilities and duties being performed by the lnoumbent(s)
                 of this job. Th~Y ar~ nollntend~d to be an exhaus/fve list of all resppnslbl/ll/es, dulles, and tasl<s rdqu/red of the position.

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                   a.    Assign duties                                                        e.    Sign or approve work
                   b.    Outline methods                                                      f.    Make hiring recommendations
                   c.    Dlrecl work in progress                                              g.    Prepare performance appraisala
                   d.    Check or ins ect com leted work                                      h.    Take disci Hna        action or effective! recommend such

                i~~~~!t~!f; Jf~~I~~;~fJ;;t,s~m;itW~;~~~!~!.i\\)~~fS~~,~fi~;;:;tw;:f/~~.W~~~J:~~i~t;~fl@!il!t;~{;~ ~.   e eo   fh~~~~~y.~:~w1~1kir?i~f=~t~~tt~·J1~::\

           F. MIN:IMIMUM QUALIFICATIONS REQUIRED: (Indicate the MINIMUM qualifiCations required to enter the job
                 as a recrultlprobationary officer.)

                    i. Education and Experience:
                       Minimum age 21. United States Citizenship. High School Diploma or Wisconsin GED, or other GED
                       with minimum total score of 230, or Certified High School Equivalency Diploma, and 60 college credits
                       within five years of hire.                    ·

                    il. Knowledge. Skills and Abilities:
                        Successful completion of aU portions of the examination process established by the Fire and Police
                         Commission (written, oral, medical, background and/or psychological).
                         Ability to read, understand, and explain Wisconsin State Statutes and City of Milwaukee ordinances
                         Ability to communicate effectively with a diverse population, in-person, via telephone, and in writing
                         Ability to use language In writing to communicate information or Ideas including organizing Information
                         and expressing lt In a clear and logical manner using proper sentence structure, grammar and
                         appropriate vocabulary
                         Ability to recognize or Identify the existence of a problem or issue that needs to be addressed, critically
                         evaluate the problem or issue, evaluate alternative solutions and arrive at a sound decision
                         Abllity to memorize and retain new information Including the memory of names, faces, vehicles,
                         geographic locations, maps and patrol pattems
                         Ability to maintain self-control and take direction from supervisors
                         Ability to perform physical activities necessary to protect oneself and others

                   iii. Certifications, Licenses. Registrations:
                         Valid Motor Vehicle Operator's License (Drivers License) at time of background Investigation, Must
                         maintain valid Driver's License.

                   iv.   Other Requirements:
                         Participation in and successful completion of all phases of the required training (Phases I, II, Ill, IV, V,
                         and VI - Recruit Officer, Officer in Training (OIT) and Probationary Officer};
                         Attainment of LESB certification during recruit training. Maintenance of !..ESB certification thereafter.



         13. PHYSICAL AND ENVIRONMENTAL DEMANDS: TOOLS AND EQUIPMENT USED
           The Americans with Disabilities Act of 1993 requires job descriptions to provide detailed Information regarding the
           physical demands required to perform the essential functions of a job; the conditions under which the job is
           performed; and the tools and equipment the employee will be required to use on the job. Reasonable
           accommodations may be made to enable qualified individuals to perform the essential duties and responsibilities
           of the job for each of the categories listed below.

           G.    PHYSICAL ACTIVITY OF THE POSITION! (List the physlcaf activities that are representative of those that
                 must be met to successfully perform the essential functions of the job).

                 CHECK ALL THAT APPLY:
                     Climbing: Ascending or descending ladders, stairs, scaffolding, ramps, poles, and the like; using feet and
                     legs and/or hands and arms. Body agility is emphasized. Check only if the amount and kind of climbing
                     re uired exceeds that re ulred for ordina locomotion.

The above statements aralntencfed to summartze the nature and level of work and typical responsibilities and duties being petformed by the lnoumbent(s)
               of this job. They are not intendEtd to be an exhaustive /is/ of all responsibilities, duties, and tasks required of t11e pos/1/on.

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                    u       Balancing: Maintaining body equilibrium to prevent failing when walking, standing or crouching on narrow,
                            sllppery or erratically moving surfaces. Check only if the amount and kind of balancing exceeds that
                            needed for ordinary locomotion and maintenance of body equilibrium.
                    [8]     Stooping: Bending body downward and forward by bending spine at the waist. Check only if it occurs to a
                            considerable depree and requires full use of the lower extremlfies and back muscles.
                    [8]     Kneeling: Bending legs at knee to come to a rest on knee or knees.
                    [8J     Crouching: Bending the body downward and forward by bending leg and spine.
                    [8J     Crawilng: Moving about on hands and knees or hands and feet.
                    [?SJ    Raachlng: Extending Hand(s)and arm(s) in any direction.
                            Standing: ParticUlarly for sustained periods of time.
                            Walking: Moving about on foot to accomplish tasks, particularly for long distances.
                            Pushing: Using upper extremities to exert force In order to draw, press against something with steady
                            force in order to thrust forward, downward or outward.
                    tEl     Pulling: Using upper extremities to exert force in order to draw, drag, haul or tug objects In a sustained
                            motion.
                    [8)     LJftlng: Raising objects from a lower to a higher position or moving objects horizontally from position-to-
                            position. Check only If it occurs to a considerable degree and requires substantial use of the upper
                            extremities and back muscles.
                    [?SJ    Fingering: Picking, pinching, typing or otherwise working primarily with fingers rather than with the whole
                            hand or arm as ln handlinq,
                    IZl     Grasping: Applying pressure to an object with fingers and palm.
                    ~       Feeling: Perceiving attributes of objects such as size, shape, temperature or texture by touching with the
                            skin particularly that of fhe fingertips.
                    [8]     Talking: Expressin~ or exchanging Ideas by means of the spoken word. Those activities whlch demand
                            detaned or importan Instructions spoken to other workers accurately, loudlY or quicklY.
                    [?SJ    Hearing: Perceiving the nature of sounds with no less than a 40 db loss. Ability to receive oral
                            communication and make fine dlscrimlnatlons In sound.
                    [8)     Repetitive Motions: Substantial movements (motions) of the wrist, hands, and/or fingers.
                    ~       Driving; Minimum standards required by State Law (including license).

            H. PHYSICAL REQUI~EMcNTS OF THE POSITION: (List the physical requirements that are essential
                  functions of the job.)

                  CHECK ONE:
                   0 Sedentary      Work: Exerting up to 10 pounds of force occasionally and/or negligible amount of force
                       frequently or constantly to llft, carry, push, ~un or otherwise move objects. Sedentary work involves sitting
                       most of the time. Jobs are sedentary lf wa king and standing are required only occasionally and all other
                       sedentary criteria are met.
                    u  Light Work: Exerting up to 10 pounds of force occasionally and/or negligible amount of force constantly to
                       move objects. If the use of arm and/or leg controls requires exertion of forces greater than that for sedentary
                       work and the worker sits most of the time the job is rated for L[g_ht Work.
                   181 Medium Work: Exerting up to 50 pounds of force occasionally and/or up to 20 pounds of force frequently,
                       and/or up to 10 _pounds of force constantly to move obJects.
                       Heavy Work~ Exerting up to 100 pounds of force occasionally, and/or up to 50 pounds of force frequently,
                   0 and/or    up to 20 pounds of force constantly to move oblects.
                   0 Very Heavy Work: Exerting In excess of 100 pounds of force occasionally, andfor tn excess of 50 pounds of
                       force frequently, and/or in excess of 20 pounds of force constantly to move objects,

            1.   VISUAL ACUITY REQUIREMENTS: {List the visual acuity requirements that are essential functions of the
                 job.)

                  CHECK ONE·
                   [81 Operators {Electronic Equipment), Inspection, Close Assembly, Clerical, Administrative:
                           This is a minimum standard for use with those whose Job requires work done at close visual range (i.e. preparing
                           and analyzing data and figures, accounting, transcription, computer terminal, extensive reading, visual inspeotlon
                           Involving small parts, operation of machines using measurement devises assembly or fabrication of parts).
                    0      Machine Operators, Mechanics, SkliiEld Tradespeople: This is a minimum standard for use with those whose
                           worl< deals with machines where the seeing job Is at or within arm's reach, This also Includes mechanics and
                           skllled tradespeople and those who do work of a non-repetitive nature such as carpenters, technicians, service
                           people plumbers. painters mechanics eto. (If the machine operator also Inspects check the "Operators" box.)
                  TI       Mobile Equipment Operators: This Is a minimum standard for use with those who operate cars, trucks, forkllfts,
                           cranes and hl~h lift eQuipment.

The above statements are Intended lo summarize the nature Mc;lleveJ of work and typfoaf responslblllties ancl duties being performrJd by lhfl lnoumbent(s)
               of this job. They are not Intended lobe an exhaustive list of all responsibilities, duties, end Iasks required of fhe position.

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                         Other: This is a minimum standar based on the criteria of accuracy and neatness of work for janitors, sweepers,
                         etc.

           J,    THE CONDITIONS THE WORKER WILL BE SUBJECT TO IN THIS POSITION:
                 List the environmental/working conditions io which the employee may be exposed Whlie performing the
                 essential functions of the job. include scheduling considerations such as; on-call for emergencies, rotating
                 shift, etc. Approximate Percentage of time performing field work: ~%

                  CHI:CKALL THAT APPLY:
                   0 None:     The worker is not substantially exposed to adverse environmental conditions (such as typical offiqe·or
                        administrative work).
                        The worker is subject to inside environmental conditions: Protection from weather conditions but not
                   0    necessarily from temperature chanQes (i.e. warehouse>s, covered loading docks garages etc.)
                   l?SI The worker is subject to outside environmenta1 conditions: No effective protectlon from weather.
                   l?SI The worker Is subject to extreme cold: Temperatures below 32 degrees for period of more than one hour.
                   l?SI The worker is subject to extreme heat: Temperatures above 100 degrees for periods of more than one hour.
                             worker Is subject to noise: There Is sufficient noise to cause the worker lo shout in order to be heard above
                   l?SI The
                        the surroundlno noise level.
                   l?SI The worker Is subject to vibration: Exposure 1o osclllailng movements of the extremities or whole body.
                        The worker Is subJ.ect to hazards: Includes a variety of physical conditions, such as proxlmltyto moving
                   ~ mechanloal parts electrical current workin_q on scaffoldlnQ and hir:Jh places or exposure to chemicals.
                        The worker Is subject to atmospheric conditions; One or more of the following conditions that affect the
                   ~ respiratory svslem or the skin: Fumes odors dust, mists aases or poor ventilation.
                   D The worker Is subject to oil: There Is air and/or skln exposure io oils and other cutting fluids.                   .
                   IZJ The worker Is required to wear a respirator. (In recruit training)
           K.    MACHINE, TOOLS, EQUIPMENT, ELECTRONIC DEVICES, SOFTWARE, ETC. USED BY POSITION:
                 List equipment needed to successfully perform the essential functions of the job. Reasonable
                 accommodations may be made to enable qualified individuals with disabilities to perform the essential
                 functions.)

                 CHECKALL THAT APPLY.·
                  [gl Camera and photographic equipment                     ~
                                                                       Office Equipment (desk, chair, telephone, etc.)
                   D Cleaning supplies                                      0
                                                                       Office supplies (pens, staplers, pencils, etc.)
                   ~ commercial vehicle                             ~ Packing materials (boxes, shrink wrap, etc.)
                   0 Data processing equipment                      ~ PC equipment (monitor, keyboard, printer, etc.)
                   D Handcart                                          PC software
                  _IZ] Hand tools (please lfstJ: screwdrivers hammer, knives
                   ~Office Machines (check alfthat appfy): l2s;J Copier        l2s;J Facsimile l J Calculator 0 Cash reQlster
                   l?SI Other (please list): Firearms (training, use and dismantle); riot gear (helmet, baton); ballistic vest and
                   Sam Browne belt and equipment (handcuffs baton etc.).

           L.    SUPPLEMENTARY INFORMATION: (Indicate any other information which further explains the Importance,
                 difficulty, or uniqueness of the position, such as Its scope of responsibility related to finances, equipment,
                 people, information, etc. Also indicate success factors such a personal characteristics that contribute to an
                 indtvidual's ability to perform well in the job, and any other special considerations.)
                 Ability to communicate effectively with a variety of people, write accurate and complete reports, make quick
                 and appropriate decisions under stressful situations, perform physical activities necessary to protect self and
                 others, and work long hours for extended periods of time.

           M. I believe that the statements made above in describing this job are complete and
              accurate.




The above statements are Intended to summarize the nature and level of work and lyploa/ responsibilities Emd duties being performerJ by the incumbent(s)
               of this job. They are not intended to btJ an exhaustive Jist of a/f respons/b/111/es, duties, and tasl<s f6qulred of the position.

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          EXHIBIT#13

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 City of Milwaukee
 CS-25, Rev. 12109                    JOB DESCRIPTION

 Instructions: Complete all sections. Refer to the Guidelines for Preparing Job
 Descriptions for instructions on completing specific items.


1. Date Prepared/ Revised:              2. Present Incumbent:                                         jls incumbent underfilling position?
              4/15/15                                        Various                                  I
3. Date Filled:                         4.   Previous Incumbent:                                        YESO NO ~
                                                             Various                                    If YES, indicate Underfill Title in box 10.
5. Department:                                           Bureau: Varied                                  Unit:
 Police Department                                       Division:                                       Section:
                                                                                                        Work Schedule:
                                                           Telephone:
6. Work Location: Varied                                                                                 Hours: 8 hr shifts; various start times
                                                           Email:
                                                                                                        I Da s:
7.   Represented by a                   8. Bargaining Unit: Local 21, Milw Police Assn                           9. FLSA Status (check one):
     Union?     lZl   Yes   ONo         If in District Council 48, which local?                                   0 Exempt !61 Non-Exempt
10. Official Title:                                                                                    ': ?ay:Raiige .·Job:code · EE6' .Code .
      Detective                                                                                               4F           2309
        Underfill Title (if applicable): 1
      Requested Title (if applicable): I



                                                                     :~;t~':';":!U~';:t,;'i :,,,,.. ,;;::2:(:: ~bi~;:y··. ~; ..:>:: ..i··,;!i~~:~if\
         Recommended Titre (DER Use Only):                                                            <:~.::,.,;;; :~-:~~~m; r:~· }:!~:·i·:::'i'i    ~:\; i::_.;:.:::~=y·::_:1';f;:;~~~;

                                                                                                                              [:.;::,..   ~:::i).?~c,_:;~:·. ·.;:          _::;,::};':I

11. BASIC FUNCTION OF POSITION:

Investigation of major crimes and any other investigations deemed necessary by the Chief of Police and/or his designee.
Recognize crime trends and pattems and identify solutions in combination with personnel from other bureaus and
divisions.



12. DESCRIPTION OF JOB (Check if description applies to Official TitleD or Underfill Title 0):

           A.    ESSENTIAL FUNCTIONS/Duties and Responsibilities: (Refer to the "Guidelines tor Preparing Job
                 Descriptions" for instructions on determining Essential Functions.)
              %of Time                                                    ESSENTiAL FUNCTioNS
                  100        •    Carries and maintains firearms and other defensive weapons in accordance with official training.
                             •    Executes powers of arrest and control, Including full search of arrested persons .
                             •    Investigation of criminal offenses that usually fall into the area of major felonies .
                             •    Protection of life and property .
                              •   Serves as a credible witness ln court and administrative proceedinQs.
                              •   Has complete knowledg·e of Wisconsin State Statutes and City of Milwaukee Ordinances.
                              •   Assists in developing and administrating crime prevention programs to eliminate causes of crime.
                              •   Detection and apprehension of criminal offenders .
                              •   Manages crimine3l investigations and properly documents and recovers evidence. Identifies, documents,
                                  preserves, processes and analyzes items of evidence obtained from crime scenes and suspects, placing
                                  them in proper containers, and properly maintaining the chain of custody.
                              •   Obtains and executes search and arrest warrants needed to collect additional evidence and to arrest
                                  suspects.
                              •   Conducts proper interview/interrogation techniques that produce statements that stand the test of judicial
                                  proceedings.
                             •    Responds to crime scenes and mentors/aids police officers in proper crime scene management.
                             •    Conducts investigative evidence recovery, interviews of witnesses, and the apprehension of wanted
                                  persons at crime scenes.                                                 ·

The above statements are intended to summarlze the nature and level of work and typical responsibiliUes and duties being performed by the inaumbent(s)
               of this job. They are not intended to be an exhaustive list of all responsibilities, duties, and tasks required of the position.

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             %of Time                                                     ESSENTIAL FUNCTIONS
                              • Conducts a review and analysis of completed police reports to determine what additional information and
                                investigative work is needed and collaborates with other districts and bureaus to ensure the work is
                                properly completed.
                              • Based on an analysis of crime trends, suspected offenders and/or problem locations, collaborates with
                                other districts and bureaus to deploy police resources to mitigate crime and apprehend the offenders
                                involved.
                              • Thoroughly and properly documents crime scenes, including but not limited to citizen/witness interviews,
                                offender/suspect interviews, evidence location and recovery, scene diagrams, and all other aspects
                                pertinent to the investigation.
                              • Demonstrates a thorough knowledge of Wisconsin Criminal Code and case law that affect the detective's
                                duties.
                              • Participates in and successfully completes all required training (e.g., CPR, Firearms, DAAT, EVOC, etc.).
                              • Reports to dut)l fully equipped, prepared, and fit for the full duration of his/her scheduled shift.
                              • Acts in a manner consistent with the Department's Code of Conduct, policies and procedures, and
                                Standard OperatingProcedures as set forth bythe Chief of Police .
                              • When directed, enforces ·criminal laws, identifies, detains, and processes wanted individuals, an in
                                accordance with the Constitution of the United States, State of Wisconsin and ordinances of the City of
                                Milwaukee.
                              • When directed, responds to calls for service in order of priority and handles such calls efficiently and
                                responsibly, consistent with training, Department directives, Code of Conduct, and Standard Operating
                                Procedures.
                              • Manages major crime scenes until officially relieved by a higher ranking supervisor, Directs uniform
                                personnel who are involved in the investigation. Processes and protects the crime scene for evidence,
                                directing the recovery and packing of evidence, directing the arrest of wanted persons and preparing the
                                case for proper presentation to the District Attorney's Office and court.



           8. PERIPHERAL DUTIES:
            %of Time                                                         PERIPHERAL DUTY
                              • Other duties as assigned .
                              •
                              •
                              •
                              •
                              •
                              •
                              •
                              •
                              •
           C.    NAME AND TITLE OF IMMEDIATE SUPERVISOR:

                 Police Lieutenant or Police Sergeant

           D.    SUPERVISION RECEIVED: (Describe the extent to which work assignments and methods are outlined,
                 reviewed, and approved by this position's supervisor.)

                 Police Lieutenant monitors daily work assignments. A Detective follows procedures and policies set forth by
                 the Division Commander (Captain of Police), Inspector, and Assistant Chief of the work location.

           E.    SUPERVISION EXERCISED:
                 Total number of employees for whom responsible, either directly or indirectly= N/A.

                 Direct Supervision: List the number and titles of personnel directly supervised. Specify the kind and extent
                 of supervision exercised by indicating one or more of the following:
                   a.   Assign duties                                              e.   Sign or approve work
                   b.   Outline ·methods                                           f.   Make hiring recommendations
                   c.   Direct work in progress                                    g.   Prepare performance appraisals
                   d.   Check or inspect com_Qieted work                           h.   Take disciplinary action or effectively recommend such

The above statements are intended to summarize the nature and level of work and typical responsibilfties and duties being performed by the incumbent(s)
               of this job. They are not intended to be an exhaustive list of all responsibilities, duties, and tasks required of the position.

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                  Number                                                                                Extent of Supervision Exercised
                 Supervised                                  Job Title                               (Select those that apply from fist above, a -h)




            F.    MINIMIMUM QUALIFICATIONS REQUIRED: (Indicate the MINIMUM qualifications required to enter the
                 job.)

                     i. Education and Experience:
                        Minimum years of experience as specified by the Fire and Police Commission at time of promotional
                        process.
                        Familiarity with problem-oriented policing and ethical issues in policing.

                    ii. Knowledge, Skills and Abilities:
                        Ability to analyze and solve problems, make decisions, and exercise judgment effectively. Good oral
                        and written communication skills. Ability to accurately recall details. Knowledge of the Milwaukee
                        Police Departmenfs Standard Operating Procedures, general rules and regulations, and Code of
                        Conduct. Knowledge of laws, ordinances and the criminal law handbook. Strong planning and
                        organization skills. Knowledge and experience with current technologies required within ranks. Ability
                        to analyze information and develop action plans.

                   iii. Certifications. licenses, Registrations:
                         Maintenance of a valid Driver's license.

                   W. Other Requirements:
                      Maintenance of LESB certification.

          13. PHYSICAL AND ENVIRONMENTAL DEMANDS: TOOLS AND EQUIPMENT USED

           The Americans with Disabilities Act of 1993 requires job descriptions to provide detailed information regarding the
           physical demands required to perform the essential functions of a job; the conditions under which the job is
           performed; and the tools and equipment the employee will be required to use on the job. Reasonable
           accommodations may be made to enable qualified individuals to perform the essential duties and responsibilities
           of the job for each of the categories listed below.

           G.    PHYSICAL ACTIVITY OF THE POSITION: (List the physical activities that are representative of those that
                 must be met to successfully perform the essential functions ofthe job).

                 CHECK ALL THAT APPLY·
                  0 Climbing: Ascending or descending ladders, stairs, scaffolding, ramps, poles, and the like; using feet and
                         legs and/or hands and arms. Body agHity is emphasized. Check only if the amount and kind of climbing
                         required exceeds that required for ordinarv locomotion.
                   u     Balancing: Maintaining body equilibrium to prevent failing when walking, standing or crouching on narrow,
                         slippery or erratically moving surfaces. Check only if the amount and klnd of balancing exceeds that
                         needed for ordinary_ locomotion and maintenance of body_ equilibrium.
                   ~     Stooping: Bending body downward and forward by bending spine at the waist. Check only if ft occurs to a
                         considerable degree and requires full use of the lower extremities and back muscles.
                   _0    Kneeling: Bending legs at knee to come to a rest on knee or knees.
                   [gJ   Crouching: Bending the body downward and forward by bending leg and spine.
                   [gJ   Crawling: Moving about on hands and knees or hands and feet.


The above statements ere intended to summarize the nature and level of work and typical responsibilities and duties being performed by the inoumbent(s)
               of this job. They are not intended to be an exhaustive list of all responsibilities, duties, and tasks required of the position.

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                   ~      Reaching: Extending Hand(s) and arm(s) ln any direction.
                   ~      Standing: Particularly for sustained periods of time.
                   ~      Walking: Moving about on foot to accomplish tasks, particularly for long distances.
                   lZl    Pushing: Using upper extremities to exert force in order to draw, press against something with steady
                          force in order to thrust fotward, downward or outward.
                   ~      Pulling: Using upper extremities to exert force in order to draw, drag, haul or tug objects in a sustained
                          motion.
                   ~      Lifting: Raising objects from a lower to a higher position or moving objects horizontally from position-to-
                          position. Check only if It occurs to a considerable degree and requires substantial use of the upper
                          extremities and back muscles.
                   ~      Fingering: Picking, pinching, typing or otherwlse working primarily with fingers rather than with the whole
                          hand or arm as In handliQQ.
                   lZl    Grasping: Applying pressure to an object with fingers and palm.
                   ~      Feeling: Perceiving attributes of objects such as size, shape, temperature or texture by touching with the
                          skin, particularly that of the fingertips.
                   lZl    Talking: Expressing or exchanging Ideas by means of the spoken word. Those activities which demand
                          detailed or important instructions spoken to other workers accurately, loudly or quickly.
                   ~      Hearing: Perceiving the nature of sounds with no less than a 40 db loss. Ability to receive oral
                          communication and make fine discriminations in sound.
                   lZl    Repetitive Motions: Substantial movements (motions) of the wrist, hands, and/or fingers.
                   lZl    Driving: Minimum standards required by State Law (including license)~

           H.    PHYSICAL REQUIREMENTS OF THE POSITION: (List the physical requirements that are essential
                 functions of the job.)

                 CHECK ONE:
                  0 Sedentary      Work: Exerting up to 10 pounds of force occasionally and/or negligible amount of force
                    frequently or constantly to lift, carry, push, pun or othetwise move objects. Sedentary work involves sitting
                    most of the time. Jobs are sedentary if walking and standing are required only occasionally and all other
                    sedentary criteria are met.
                  D Light Work; Exerting up to 10 pounds of force occasionally and/or negligible amount of force constantly to
                    move objects. If the use of arm and/or leg controls requires exertion of forces greater than that for sedentary
                    work and the worker sits most of the time, the job Is rated for Light Work.
                  ~ Medium Work: Exerting up to 50 pounds of force occasionally and/or up to 20 pounds of force frequently,
                    and/or U_Q_ to 10 p_ounds of force constantly to move objects.
                  0 and/or
                    Heavy Work: Exerting up to 100 pounds of force occasionally, and/or up to 50 pounds of force frequently,
                            ur>_ to 20 p_ounds of force constantly_ to move objects.
                  D Very Heavy Work: Exerting in excess of 100 pounds of force occasionally, and/or in excess of 50 pounds of
                    force frequently, and/or in excess of 20 pounds of force constantlyJo move objects.

           I.    VISUAL ACUITY REQUIREMENTS: (List the visual acuity requirements that are essential functions of the
                 job.)

                 CHECK ONE·
                  !X] Operators (Electronic Equipment}, Inspection, Close Assembly, Clerical, Administrative:
                      This is a minimum standard for use with those whose job requires work done at close visual range (i.e. preparing
                      and analyz:lng data and figures, accounting, transcription, computer terminal, extensive reading, visual inspection
                      involving small parts operation of machines, usinQ measurement devises assembly or fabrication of parts).
                      Machine Operators, Mechanics, Skilled Tradespeople: This is a minimum standard for use with those whose
                  0 work    deals with machines where the seeing job is at or within arm's reach. This also includes mechanics and
                      skilled tradespeople and those who do work of a non-repetitive nature such as carpenters, technicians, service
                      people Qlumbers _2_ainters, mechanics, etc. (If the machine operator also inspects, check the "Operators" box.)
                  0 Mobile      Equipment Operators: This is a minimum standard for use with those who operate cars, trucks, forklifts,
                      cranes, and high lift equipment.
                  0 Other:
                      etc.
                                This is a minimum standard based on the criteria of accuracy and neatness of work for janitors, sweepers,


           J.    THE CONDITIONS THE WORKER WILL BE SUBJECT TO IN THIS POSITION:
                 List the environmental/working conditions to which the employee may be exposed while performing the
                 essential functions of the job. Include scheduling considerations such as on-call for emergencies, rotating
                 shift, etc. Approximate Percentage of time performing field work: 50%


The above statements are intended to summarize the nature and level of work and typical responsibilities and duties being performed by the incumbent(s)
               of this job. They are not intended to be an exhaustive list of all responsibilities, duties, and tasks required of the position.

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                  CHECK ALL THAT APPLY·             I




                   0 Nona:     The worker Is not substantially exposed to adverse environmental conditions (such as typical office or
                       administrative work}.
                       The worker Is subject to inside environmental conditlonl:l: Protection from weather conditions but no!
                   fZJ necessarilY  from temperature changes (I.e. warehouses covered loading docks garages ero.)
                   ~ The worker Is subject to outside environmental conditions: No effective protection from weather.
                   fZJ The worker is subject to extreme cold: Temperatures below 32 degrees for period of more than one hour.
                   fZJ The worker Is subject to extreme heat: Temperatures above 100 degrees for periods of more than one hour.
                   fZJ The  worker Is subJect to noise: There is sufficient noise to cause the worker to shout In order to be heard above
                       the surroundlnP nois~ leveL
                   [31 The worker 1s subject to vibration: Exposure to osclllatlng movements of the extremities or whole body.
                       The worker is subject to hazards: Includes a variety of physical condttlons, such as proximity to moving
                   [8J mechanical   parts electrical current working on scaffolding and high places or exposure to chemicals.
                       The worker Is subject to atmospheric conditions: One or more of the following conditions that affect the
                   !8J resplratorv system or the skin: Fumes odors dust mists gases or poor ventilation.
                   0 The worker is .subject to oil: There is air and/or skin exposure to oils and other cutting fluids.
                   0 The worker Is required to wear a respirator.
           K.    MACHINE, TOOLS, EQUIPMENT, ELECTRONIC DEVICES, SOFtwARE, ETC. USED BY POSITION:
                 List equipment needed to successfully perform the essential functions of the job. Reasonable
                 accommodations may be made to enable qualified Individuals with disabilities to perform the essential
                 functions.)

                 CHECK ALL THAT APPLY:
                   jg) Camera and photographic equipment                     ~Office Equipment (desk, chalr, telephone, etc.)
                   ~ Cleaning supplies                                       [gj Office supplies (pens, staplers, pencils, etc.)
                                                                             D Packing materials (boxes, shrink wrap, etc.)
                   El Commercial vehicle
                      Data processing equipment
                      Handcart          .
                                                                             [gj PC equipment (monitor, keyboard, printer, etc.)
                                                                             D PC software
                     Hand tools (please list);
                     Office Machines (check a!f that appfy): 129. Copier ~ Facsiml!e [] Calculator [ J Cash register
                     Other (please list): Firearms (training, use and dismantle); riot gear (helmet, baton); ballistic vest and
                   Sam 13rowne belt and equipment (handcuffs baton etc.).

           L.    SUPPLEMENTARY INFORMATION; (Indicate any other information which further explains the Importance,
                 difficulty, or uniqueness of the position, such as its scope of responsibility related to finances, equipment,
                 people, information, etc. Also indicate success factors such a personal characteristics that contribute to an
                 individual's ability to perform well in the job, and any other special considerations.)



           M. I believe that the statements made above in describing this job are complete and
              accurate.




The above statements are Intended to summer/1:e the nature and level of work and typloal responsibilities and duties being performed by the lnuumbf!nt(s)
               of this job. They are not Intended to be an exhausf/ve list of all responsfbilit/es, duties, and tasks required of the posil/on.

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          EXHIBIT#14

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           EXHIBIT#l5

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 1   Z0000031 start @2:25

 2   June 2, 2015 ... 8:30pm

 3   .. So your hours. What are you supposed to do about that?

 4
 5   Oh ok       JVlt:--(4.-tH-i.
 6
 1                                  bO'"
 8   Oh yeah the      rf}~~ I ..e.
 9                                                                                       .   f(/m bOvl(
10   Just call the captain. since he gave you his number ...

11
12
13
14

15   Did they tell you have thirty days like everyone else

16                                                                            ~bov-11
17   Yeah ..

18                                                                                  .flrn b~rn
19   About what?        (Y}--e,. fan I e_
20
21                                                                                                   YY/
22
23
24   Yeah       HdCl)1, l~
25
26
27                                                                                            to
28
29

30   So that is good that it is not that much and get to keep your job   vu~ J-e_




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          31    Yeah but it sucks when I have to take that suspension I have a car payment, the device, I have to                r:Jj1 onf __
.~·-.,


          32    of the tickets by July 860$ so I should do a couple DPM or something otherwise it will suck                   'f'1YY1. t:lJr/1.
                                                    / fVlt Ia "'.l-
          33    Do you have to blow into it to drive ... yes you have to blow into it to start the car urn shot u even~otto
          34   do it to park the car and then it can go off randomly anywhere from 5-40 minutes for a year ..                ffrn b:::Jr/1
          35   I have a bicycle .. i w~_d:r what they would do if that was my primary vehicle? It is still technically a moto
          36   of transportation ~~.hom

          37   You can use your bicycle itt would be funny no you can            /~1t.ftl11i-(_
          38   Everyone .. r.all in ah.brain fart ... Schanke to pick me up in his Uberthat is what he does when he leaves
          39   work .. does he ever go home -      4mhorn.
         40    Maybe you will find out this week when you go on your vacation but it will probably be thirty days you ./J/1                  1
         41    know that it is going to be 30 days .. rumor is that you at least will be off every other week unpaid tho             I ftt!.-ttLA.t-(
         42    I know that you cannot work on a suspension day but if it is off day you can work for someone and make
         43    up for it...

         44    I also wanted to talk to the union to see if I couldJ1t unemployment during the suspension. I don't
         45    know ask him that is what they are there for           ..f-/rYI,Wrri
         46    You will find out this week ..they used to let you pick when you wanted to take it now they tell u and u
         47    can use vacation maybe holidays maybe comp ... 10:21              /Vl~
         ;48   Yeah at least thy don't wake me take it all one month not sure how it works ask another officer that has
          49   been through it        .:t..tmbOrlt                                                .
         50    Your probably shiting your pants when it happened ..            ~fll-e
         51    When did it happen?         M-dartt-e-
         52    March 8, my mother's birthday .. oh r you serious? lwas off the night for her birthday and I was out with
         53    some district two coppers we were all..l wasn't as bad as I blew. Obviously I blew high I remember
         54    everything. Probably because my tolerance is really high .. haha                ;1/-;-n /::;iJrn
         55    That was not a real good happy birthday phone call to my mom                      lfrn dJY t1
         56    So when did the captain call you then ( 11:40)         y,/lA - I·- "l.:.e....
                                                                         V~'-'

               He called me two days later asking me how I thought I was still on probation .. I told him that urn sgt
                 ylor had my last probationary review and said that it was extended or having the probationary date
                nding   datet[fi1J~"ff-8nd that is why I assumed I was on probation.                  I should have been .. but
               someone, specifically sergeant Taylor never submitted the proper paperwork to the Captain and the
               Captain had to review it and sign off on it and send it to the fire and police commissi?J)_andl.~ey sign off
                n it and ~1~ t~e (xtens!on and that was never done. That kind of saved my ass
                         1VV~&nJ--e
                                                                                                                  ft(nU()(Y}
         63    Ha

                                                           fired      .~ fl'l



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65   Why was he called to ask you?

66   Yeah he called and asked me why I thought I was on probation. He said "well so you know I was never
67   aware of you being extended on probation and I would be the one to sign that paper .. so as far as I'm
68   concerned your probation ended um January 24               ~tor 11
69   Oh that is good      11/l~ (_                                        (l"l~(tttttL
                                                                      /
70   Is he saying that to tell you not to worry about it kind of thing? He really looked out for me .. he gave me
71   his cell number and told me to text him if I need a status or what's going on .. he could have been like hey
72   not on file but it is on file now and could have been what stopped him from submitting it late I'm still on
73   probation. Clerical error..    .fly-ntDrll
74   That is what it sounds like he did ..   ~Uutt-L
75   He could have been like always talking to me ask me how im doing gave me his phone number..          ~rT/
76   13:33

77                                                              you the questions and asked you what to     say?/lft:./tv~rt---
78
79
80
81
82
83
84
85

86   They just told you not to mention the probation thing then?     ~{d.flt--l
87   The recording? No they said don't mention that it was recorded.

88   They never brought it up so I never brought it up...    ./1rnbtJY"n
89   They just asked me where I was what I was doing         ,4-r-n Wi"'/7
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